STATES DIST
Case 1:22-cv-00057-LJV Document1 Filed 01/20/22 Page Bae PST
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Gao d

\Ys JAN 2 0 2022
Revised 03/06 WDNY UNITED STATES DISTRICT COURT Yet ow oe
WESTERN DISTRICT OF NEW YORK STER NDisnater or
FORM TO BE USED IN FILING A CIVIL COMPLAINT IN FEDERAL COURT
(Non-Prisoner Context)

 
   

All material filed in this Court is now available via the INTERNET. See Pro Se Privacy Notice for further information.

1. CAPTION OF ACTION

 

A. Full Name of Plaintiff: NOTE: [fmore than one plaintiff files this action and seeks in forma pauperis status, each plaintiff
must submit an in forma pauperis application or the only plaintiff to be considered will be the plaintiff who filed an application.

DARWIN J GUTIERREZ - FLORES

 

 

 

-VS-

B. Full Name(s) of Defendant(s) NOTE: Pursuant to Fed.R.Civ.P. 10(a), the names of all parties must appear in the caption.
The court may not consider a claim against anyone not identified in this section as a defendant. Add a separate sheet, if necessary.

1. U.S. Department of Justice 4, E.R.O Buffalo / Michael Phillips

2, (ICE) U.S. Immigration and Customs Enforcement &

3. Department of Homeland Security 6.

 

 

 

 

 

 

 

2. STATEMENT OF JURISDICTION, VENUE and NATURE OF SUIT
All of these sections MUST be answered

Identify the basis for federal Court jurisdiction over your claim, such as that the United States government is a party to the action, all the
parties reside in different states and therefore you claim diversity jurisdiction, or the claim presents a federal question or arises under
federal law.

A. Basis of Jurisdiction in Federal Court: 28 U.S.C. & 2401 (b)

 

State why the Western District of New York is the proper venue for this action, such as that your claim arises in or the defendant resides
in the 17 westernmost counties of New York State.

B. Reason for Venue in the Western District: Buffalo N.Y. Resident

 

Identify the nature of this action, such as that it is a civil rights claim, a personal injury or personal property (tort) claim, a property rights
claim, or whatever it is.

C. Nature of Suit. |ort Claim / Lawsuit

 

 
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3. PARTIES TO THIS ACTION

PLAINTIFE’S INFORMATION NOTE: 1o list additional plaintiffs, use this format on another sheet of paper.
Name of First Plainit Darwin J Gutierrez - Flores

Present Address: 79 Marine Drive Apt#11G
Buffalo, NY 14202

 

 

 

 

Name of Second Plaintiff:
Present Address:

 

 

 

DEFENDANT?’S INFORMATION NOTE: To list additional defendants, use this format on another sheet of paper.

Official Position of Defendant (if relevant); Civil Division, Tort Branch Federal Tort Claims
Address of Defendant: POSt Office Box 888, Benjamin Franklin Station
Washington, D.C. 20044

Name of Second Defendant: (ICE) Immigration and Customs Enforcement

 

 

 

 

 

 

Official Position of Defendant (if relevant):

Address of Defendant:2025 M ST N.W., Washington, D.C. 20036

 

 

 

Name of Third Defendant: Michael Phillips E.R.O / Buffalo

Official Position of Defendant (if relevant);_ Control Officer
Address of Defendant: 2090 Delaware Avenue, Floor 7; Buffalo, N.Y. 14202

 

 

 

 

4. PREVIOUS LAWSUITS IN STATE AND FEDERAL COURT
A. Have you begun any other lawsuits in state or federal court dealing with the same facts involved in this action?
Yes| NY .

If Yes, complete the next section. NOTE: If you have brought more than one lawsuit dealing with the same facts as this
action, use this format to describe the other action(s) on another sheet of paper.

 

 

 

 

 

 

 

 

1. Name(s) of the parties to this other lawsuit:
Plaintiff(s):

 

 
Case 1:22-cv-00057-LJV Document 1 Filed 01/20/22 Page 3 of 84

Defendant(s):

 

 

2. Court (if federal court, name the district; if state court, name the county):

 

 

Docket or Index Number:

 

Name of Judge to whom case was assigned:

 

The approximate date the action was filed:

 

nw Pw

What was the disposition of the case?
Is it still pending? Yeq Ne

If not, give the approximate date it was resolved.

 

 

 

 

 

Disposition (check those statements which apply):

 

 

 

Dismissed (check the statement which indicates why it was dismissed):

 

 

By court sua sponte as frivolous, malicious or for failing to state a claim
upon which relief can be granted;

By court for failure to prosecute, pay filing fee or otherwise respond to a
court order;

By court due to your voluntary withdrawal of claim;

 

 

 

 

 

 

 

 

 

Judgment upon motion or after trial entered for

[J plaintiff
C.J defendant.

 

 

5. STATEMENT OF CLAIM

Please note that it is not enough to just list the ground(s) for your action. You must include a statement of the facts which
you believe support each of your claims. In other words, just tell the story of what happened and do not use legal jargon.

Fed.R.Civ.P. 8(a) states that a pleading must contain "a short and plain statement of the claim showing that the pleader is
entitled to relief." "The function of pleadings under the Federal Rules is to give fair notice of the claim asserted. Fair notice
is that which will enable the adverse party to answer and prepare for trial, allow the application of res judicata, and identify
the nature of the case so it may be assigned the proper form of trial." Simmons v. Abruzzo, 49 F.3d 83, 86 (2d Cir. 1995).

 

Fed.R.Civ.P. 10(b) states that “[a]ll averments of claim ... shall be made in numbered paragraphs, the contents of each of
which shall be limited as far a practicable to a single set of circumstances.”

 

A. FIRST CLAIM: On (date of the incident) _| Was Malicious Prosecuted

defendant (give the name and (if relevant) the position held of each defendant involved in this incident) Sent or
Deported to die in Honduras on or about March 21, 2014 as a U.S. Citizen

since July 7, 1996.
Case 1:22-cv-00057-LJV Document 1 Filed 01/20/22 Page 4 of 84

did the following to me (briefly state what each defendant named above did):

 

 

 

 

 

 

 

 

The federal basis for this claim is:

 

 

State briefly exactly what you want the Court to do for you. Make no legal arguments and cite no cases or statutes:

 

 

 

B. SECOND CLAIM: On (date of the incident) | Was Malicious Prosecuted

defendant (give the name and (if relevant) position held of each defendant involved in this incident) Upon Docket
number issue by, This court Suplementary Documents will be added

 

 

did the following to me (briefly state what each defendant named above did):

 

 

 

 

 

 

 

The federal basis for this claim is: Denied by U.S. Department of Justice
See Attachement, Dated August 13, 2021

State briefly exactly what you want the Court to do for you. Make no legal arguments and cite no cases or statutes:
Make a reasonable and Just Judgement of the case.

 

 

 

If you have additional claims, use the above format to set them out on additional sheets of paper.

 
Case 1:22-cv-00057-LJV Document 1 Filed 01/20/22 Page 5 of 84

6. SUMMARY OF RELIEF SOUGHT

Summarize the relief requested by you in each statement of claim above.

$ 5,000,000.00

 

 

 

 

 

 

 

 

Do you want a jury trial? Yes YIN
I declare under penalty of perjury that the foregoing is true and correct.

Executed on l 7 2 O = 2D Zt
(date)

 

NOTE: Each plaintiff must sign this complaint and must also sign all subsequent papers filed with the Court.
Jy

 

 

Signature(s) of Plaintiff(s)
Case 1:22-cv-00057-LJV Document 1 Filed 01/20/22 Page 6 of 84

  

U.S. Department of Justice

Civil Division, Torts Branch
Federal Tort Claims Act Staff

 

Post Office Box 888
Benjamin Franklin Station
Washington, D.C. 20044

JGT:GKJ:MBorchert:mb
157-16-65099

AUG 13 2021

CERTIFIED MAIL =: 7018 0360 0000 2632 7935
RETURN RECEIPT REQUESTED

Mr. Darwin Johan Gutierrez Flores

79 Marine Drive

Apartment 11G

Buffalo, NY 14202

fie

Re: Administrative Tort Claim of Darwin Johan Gutierrez Flores
Dear Mr. Flores:

We have reviewed the administrative tort claim you submitted to the U.S. Department of
Justice on August 20, 2019, relative to the alleged acts or omissions of employees of the
Executive Office for Immigration Review, the Immigration and Customs Enforcement, and the
Department of Homeland Security occurring from June 13, 2011, through August 25, 2017.
After careful consideration, it has been determined that your claim is not compensable.
Accordingly, your claim must be and hereby is denied.

Tam required by law (28 C.F.R. §14.9(a)) to inform you that, if you are dissatisfied with
the denial of your claim under the Federal Tort Claims Act, you may file suit in an appropriate
United States District Court no later than six months after the date of mailing of this notification.
28 U.S.C. § 2401(b).

Very truly yours,

ayn 9)

JAMES G. TOUHEY, JR.
Director, Torts Branch

cc: Ms. Jill Anderson
General Counsel
Office of the General Counsel _
Executive Office for Immigration Review
Case 1:22-cv-00057-LJV Document1 Filed 01/20/22

Chief, District Court Litigation Division
Office of the Principal Legal Advisor

U.S. Department of Homeland Security
Immigration and Customs Enforcement

Mr. Joseph B. Maher
Acting General Counsel
Department of Homeland Security

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U.S. Department of Justice

Civil Division, Torts Branch
Federal Tort Claims Act Staff

a8

 

 

Post Office Box 888
Benjamin Franklin Station
Washington, D.C. 20044

GKJ:HLSwann:hls
157-16-NEW

September 5, 2019

Mr. Darwin Johan Gutierrez Flores
79 Marine Drive

Apartment 11G

Buffalo, NY 14202

Re: Administrative Tort Claim of Darwin Johan Gutierrez Flores
Dear Mr. Flores:

This is in response to your administrative tort claim dated August 15, 2019, which you
submitted to the Department of Justice (Department). The Department received the claim on
August 20, 2019. The Department will be handling your claim as lead agency pursuant to
28 C.F.R. § 14.2(b). All future correspondence concerning this claim should be directed to the
Department at the address above. We will contact you if further information is needed.

Very truly yours,

Phy bo Sedinm

HOPE L. SWANN
Paralegal Specialist
Civil Division, Torts Branch
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September 12, 2020.

Darwin Johan Gutierrez Flores
79 Marine Drive

Apartment 11G

Buffalo, N.Y. 14202

157-16-NEW

Ms. Hope L. Swann
Paralegal Specialist
Civil Division, Torts Branch

Post Office Box 888
Benjamin Franklin Station
Washington, D.C. 20044

Re: Waiting for response on Tort Claim

Dear: Ms. Hope L. Swann

I Submitted a Tort Claim August 15, 2019. Which was received by your
department on August 20, 2019 as Lead Agency and I have novhear absolutely
nothing, I understand this year have been a tragic on regard of the pandemic we
are facing. I am not lawyer; I would like a response as soon as possible or in the
least within 30 days. If I do not receive a response, I will be moving forward
with my claim with the United States District Court for the Western District of

New York in 30 days.

Very truly yours,

—

~~ 3 4a
Darwin Johan Gutierrez Flores
Case 1:22-cv-00057-LJV Document 1 Filed 01/20/22 Page 10 of 84

U.S. Department of Justice

Civil Division, Torts Branch
Federal Tort Claims Act Staff

 

 

Post Office Box 888
Benjamin Franklin Station
Washington, D.C, 20044

GKJ:HLSwann:hls
157-16-65099

September 24, 2020

Mr. Darwin Johan Gutierrez Flores
79 Marine Drive

Apartment 11G

Buffalo, NY 14202

Re: Administrative Tort Claim of Darwin Johan Gutierrez Flores

Dear Mr. Flores:

This is in regard to your correspondence dated September 12, 2020, which you presented
to the Department of Justice (Department). The Department received your correspondence on
September 17, 2020. In your correspondence, you request the status of your claim. Due to the
sheer volume of claims received by this office, we are unable to provide status reports. We will

contact you if further information is needed.

Very truly yours,

pyre b. Suna

HOPE L. SWANN
Paralegal Specialist
Civil Division, Torts Branch
Case 1:22-cv-00057-LJV Document 1 Filed 01/20/22 Page 11 of 84

 

CLAIM FOR DAMAGE, INSTRUCTIONS: Piease read carefully the instructions on the FORM APPROVED
reverse side and supply information requested on both sides of this | OMB NO. 1105-0008
INJURY, OR DEATH form. Use additional sheet(s) if necessary. See reverse side for

additional instructions.

 

 

 

1. Submit to Appropriate Federal Agency: 2. Name. address of claimant, and claimant's personal representative if any.

U S. Ve partimenl o¢ wy Us Vice (See instructions on reverse). Number, Street. City, State and Zip code.
uit wv “gion VRE Boandn Federal torr clingy | Dard J. Gilferrez ~Plores

Rak OfFice, 9.0. Box $43 1A Horie DA. NTH IG

2) mM Fo Kj StaTion sy
Be ajar, F emelin Seton BoFFalo, NY 14902

 

3. TYPE OF EMPLOYMENT 4. DATE OF BIRTH 5. MARITAL STATUS 6. DATE AND DAY OF ACCIDENT 7. TIME (A M. OR P.M.)

 

 

 

 

 

[Jmurtary (Afcwuan | 5 = a - \440 Single duly, X01} 524A M

8. BASIS OF CLAIM (State in detail the known facts and circumstances Stendin}the damage. injury. or de “identifying persons and property involved. the place of occurrence and
the cause thereof. Use additional pages if necessary).

 

 

9. PROPERTY DAMAGE
NAME AND ADDRESS OF OWNER, IF OTHER THAN CLAIMANT (Number, Street, City, State, and Zip Code).
‘ % WTS ., ‘
Ww ake & ati Dr. \ ubFalo, NX. (4907

 

BRIEFLY DESCRIBE THE PROPERTY. NATURE AND EXTENT OF THE DAMAGE AND THE LOCATION OF WHERE THE PROPERTY MAY BE INSPECTED.
(See instructions on reverse side).

 

10. PERSONAL INJURYMWRONGFUL DEATH

 

STATE THE NATURE AND EXTENT OF EACH INJURY OR CAUSE OF DEATH, WHICH FORMS THE BASIS OF THE CLAIM IF OTHER THAN CLAIMANT. STATE THE NAME
OF THE INJURED PERSON OR DECEDENT.

 

 

 

 

" WITNESSES
NAME ADDRESS (Number, Street, Cily. State, and Zip Code)
Fa vee Saed 0 1A Wmegor WL
aner) Sa02 9 west Senece
Davin Govier tez leony ?t Seneca,
BY YAO

 

12. (See instructions on reverse). AMOUNT OF CLAIM (in dollars)

12a. PROPERTY DAMAGE 12b PERSONAL INJURY 2c WRONGFUL DEATH 42d. TOTAL (Failure to specify may cause
forfeiture of your rights).

AES 9 O00

| CERTIFY THAT THE AMOUNT OF CLAIM COVERS ONLY DAMAGES AND INJURIES CAUSED BY THE INCIDENT ABOVE AND AGREE TO ACCEPT SAID AMOUNT IN
FULL SATISFACTION AND FINAL SETTLEMENT OF THIS CLAIM.

 

 

 

 

 

 

 

 

13a. SIGNAPURE OF CLAIMANT Qe instructions on reverse side). 13b. PHONE NUMBER OF PERSON SIGNING FORM | 14, DATE OF SIGNATURE
(io) w~6419/716)511-4a0ul 6-1 5- 2.018
CIVIL PENALTY FOR PRESENTING CRIMINAL PENALTY FOR PRESENTING FRAUDULENT
FRAUDULENT CLAIM CLAIM OR MAKING FALSE STATEMENTS
The claimant is liable to the United States Government for a civil penalty of not less Ilhan Fine, imprisonment. or both. (See 18 U.S.C. 287. 1001.)
§5.000 and not more than $10.000, plus 3 times the amount of damages sustained
by the Government. (See 31 U.S.C. 3729).

 

 

 

Authorized for Local Reproduction NSN 7540-00-634-4046 STANDARD FORM 95 (REV. 2/2007)
Previous Edition is not Usable PRESCRIBED BY DEPT. OF JUSTICE
95-109 28 CFR 14.2
Case 1:22-cv-00057-LJV Document 1 Filed 01/20/22 Page 12 of 84

 

INSURANCE COVERAGE

 

In order that subrogation claims may be adjudicated, it is essential that the claimant provide the following information regarding the insurance coverage of the vehicle or property.

 

15. Do you carry accident Insurance? r] Yes if yes. give name and address of insurance company (Number, Street, City. State. and Zip Code) and policy number. hx No

 

16. Have you filed a ciaim with your insurance carrier in this instance. and if so, is it full coverage or deductible?

17. If deductible. state amount.

[| Yes No

 

 

18. if a claim has been filed wilh your carrier, what action has your insurer taken or proposed to take with reference to your claim? (It is necessary thal you ascertain these facts).

 

19. Do you carry public liability and property damage insurance? [] Yes if yes. give name and address of insurance carrier (Number, Street, City. State, and Zip Code). Bl No

 

claim form.

A CLAIM SHALL BE DEEMED TO HAVE BEEN PRESENTED WHEN A FEDERAL
AGENCY RECEIVES FROM A CLAIMANT, HIS DULY AUTHORIZED AGENT. OR LEGAL
REPRESENTATIVE. AN EXECUTED STANDARD FORM 95 OR OTHER WRITTEN
NOTIFICATION OF AN INCIDENT. ACCOMPANIED BY A CLAIM FOR MONEY

Failure to completely execute this form or to supply the requested material within
two years from the date the claim accrued may render your claim invalid. A claim
is deemed presented when it is received by the appropriate agency, not when it is
mailed.

If instruction is needed in completing this form, the agency listed in item #1 on the reverse
side may be contacted. Complete regulations pertaining to claims asserted under the
Federal Tort Claims Act can be found in Title 28, Code of Federal Regulations. Part 14.
Many agencies have published supplementing regulations. !f more than one agency is
involved, please state each agency.

The claim may be filled by a duly authorized ageni or other legal representative. provided
evidence satisfactory to the Government is submitted with the claim establishing express
authorily to act for the claimant. A claim presented by an agent or legal representative
must be presented in the name of the claimant. if the claim is signed by the agent or
legal representative, it musi show the title or legal capacity of the person signing and be
accompanied by evidence of his/her authority to present a claim on behalf of the claimant
as agent. executor. administrator. parent. quardian or other representative.

If claimant intends to file for both personal injury and property damage, ihe amount for
each must be shown in item number 12 of this form.

INSTRUCTIONS

Claims presented under the Federal Tort Claims Act should be submitted directly to the "appropriate Federal agency" whose
employee(s) was involved in the incident. If the incident involves more than one claimant, each claimant should submit a separate

Complete ali items - Insert the word NONE where applicable.

DAMAGES IN A SUM CERTAIN FOR INJURY TO OR LOSS OF PROPERTY. PERSONAL
INJURY, OR DEATH ALLEGED TO HAVE OCCURRED BY REASON OF THE INCIDENT.
THE CLAIM MUST BE PRESENTED TO THE APPROPRIATE FEDERAL AGENCY WITHIN
TWO YEARS AFTER THE CLAIM ACCRUES.

The amount claimed should be substantiated by competent evidence as follows:

(a) In support of the claim for personal injury or death. the claimant should submit a
written report by the attending physician. showing the nature and extent of the injury. the
nature and extent of treatment, the degree of permanent disability. if any, the prognosis.
and the period of hospitalization. or incapacitation. attaching itemized bills for medical.
hospital, or burial expenses actually incurred.

(b) \n support of claims for damage to property, which has been or can be economically
repaired, the claimant should submit at least two itemized signed statements or estimates
by reliable, disinterested concerns, or. if payment has been made. the ilemized signed
receipts evidencing payment.

{c) in support of claims for damage to property which is not economically repairable. or if
the property is lost or destroyed. the claimant should submit statements as to the original
cost of the property, the date of purchase, and the value of the property. both before and
after the accident. Such statements should be by disinterested competent persons,
preferably reputable dealers or officials familiar with the type of property damaged. or by
two or more competitive bidders. and should be certified as being just and correct.

(d) Failure to specify a sum certain will render your claim invalid and may result in
forfeiture of your rights.

 

This Notice is provided in accordance with the Privacy Act. 5 U.S.C. 552a(e)(3), and

concerns the information requested in the letter to which this Notice is atlached.

A. Authority: The requested information is solicited pursuant to one or more of the
following: 5 U.S.C. 301, 28 U.S.C. 501 et seq.. 28 U.S.C. 2671 el seq.. 28 C.F.R.
Part 14.

 

PRIVACY ACT NOTICE

8. Principal Purpose: The information requested is to be used in evaluating claims.

C_ Routine Use: See the Notices of Systems of Records for the agency to whom you are
submitting this form for this information.

D. Effect of Failure to Respond: Disclosure is voluntary. However, failure to supply the
requested information or to execute the form may render your claim “invalid.”

 

form(s) to these addresses.

 

PAPERWORK REDUCTION ACT NOTICE

This notice is solely for the purpose of the Paperwork Reduction Act. 44 U.S.C. 3501. Public reporting burden for this collection of information is estimated to average 6 hours per
response. including the time for reviewing instructions. searching existing data sources, gathering and maintaining the data needed, and completing and reviewing the collection of
information. Send comments regarding this burden estimate or any other aspect of this collection of information, including suggestions for reducing this burden. to the Director. Torts
Branch. Attention: Paperwork Reduction Staff. Civil Division. U.S. Department of Justice. Washington, DC 20530 or to the Office of Management and Budget. Do not mail conpleied

 

STANDARD FORM 95 REV (2/2007) BACK

 
 

 

USCIS Registration No-__h43562987

Personal ‘descrybtton S11 (holdle YAS Site, Of (SUANCE. of this: certificate: Sex MALE | _. Date of birth _MAY 9, 1980 _.
Hes ight * feel ches, Merttal status, SINGLE » Country pf buth HONDURAS _

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SB

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Oe tt known that: DARWIN JOHAN GUTIERREZ FLORES
ROU £4 sel aé:.__. BUFFALO, NEW YORK . _.
hath ag ofyprlt opsle ed to- the Director Sf US. Citizenshy tp Wt « Sounis igreitore Services ora Certy ih ale
S' citizenship persian lo Sectton 841 aS the Lp TURAL ALON and ationalily, Act ;
having proved to- the satisfaction of the: Director: that (s/he tS PROC” & CULZCH oS the
United States of nerica, became @ citizen thereof or. SUNE 7, 1996 _
and ts. now tw the United States:

Naw Cherefore, 7 pursuance of the aulhority contatnred tr Section: 847 (of the Snumigralion
and Nationality ACh; this: cotyjiale, OS izanshipp ts esti lhis, 22ND _ diy oS —. DECEMBER

TWO THOUSAND AND SIXTEEN and the seal. Of the: Department oS ‘Homeland: Jecuriy

Yrered pursuant CO SCOWMLE:

 

ALTERATION OR MISUSE OF THIS DOCUMENT O57
1S A FEDERAL OFFENSE AND PUNISHABLE BY LAW I PE gy I GF gt
WLS. Citizenship Uh Srarignaiot Serotces

 

 

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FORM N-560 (rev. 10712)

 
Case 1:22-cv-00057-LJV Document 1 Filed 01/20/22 Page 14 of 84

Homeland Security livestigations
{nternational Operations

U.S. Department of Homeland Security
500 12" Street. S.WW.
Washington, D.C. 20536-5112

Ker

& U.S. Immigration
|} and Customs
WS ey Enforcement

NG ihe

 
 
   

MEMORANDUM FOR: ERO

Enforcement and Removal Operations * wees Dec \s few oo gs
BUFFALO ig Panos. to Sarshil

rw ssid.

FROM: Jose M. De Jesus (Ouiee ye
Unit Chief, PLEP

DATE: 11/04/2016

SUBJECT: Significant Public Benefit Pafole (Arrival) (Case #: IAO 49110 / SL)

Please be advised that Significant Public Benefit Parole for two (2) days has been authorized for the following
individual(s). Subject’s entry is limited to the MIAMI PORT OF ENTRY.

 

Name A-Number FCO DOB POB POE
GUTIERREZ-Flores, Darwin John A043 562957 BUF 05/09/1980 Honduras MIA

 

The FCO Contact is: Martin Stanford (716) 565-2039

The Control Officer is: Michael Phillips (OTHER) 716 843 7611
Case 1:22-cv-00057-LJV Document 1 Filed 01/20/22 Page 15 of 84

 

 

 

 

 

 

U. S Department of Homeland Security AUTHORIZATION FOR PAROLE OF AN ALIEN
Immigrati d Cust Enf
mmigration an ustoms Enforcement INTO THE UNITED STATES
ESAS EI eS (AS ON IIE CE TW
Name of Alien First Middle Last Dat
eas) Miuaale) ne) “ December 6, 2016
Darwin Johan GUTIERREZ Flores. AKA Darwin John
File Number

GUTIERREZ Flores AXXXXXXXX

Date of Birth (Month) (Day) (Year) Place of Birth (City or town) (State or province) (Country)
May 9. 1980 HONDURAS

U.S. Address (Apt. number and/or in care of) | (Number and street) (Cityortown) (State) (ZIP Code)

 

Presentation of the attached duplicate of this document will authorize a transportation line to accept the named bearer on board for travel to the United
States without liability under section 273 of the Immigration and Nationality Act for bringing an alien who does not have a visa.

Presentation of the original of this document prior to December 13, 2016 will authorize an immigration officer at port of entry
in the United States to permit the named bearer, whose photograph appears heron, to enter the United States.

As an alien paroled pursuant to the Immigration and Nationality Act.

-—
LX,
1

Keel

 

 

SIGNIFICANT PUBLIC BENEFIT PAROLE for a period of two (2) days has been authorized commencing with subject’s
Remarks; arrival in the United States. The travel document must be issued within 60 days from the date of authorization memorandum
(11/04/2016). It is valid for travel within Seven (7) days of its issuance and limited to MIAMI POE. DHS - PLEPU has

waived all known ineligibilities for Parole Purposes only.
KH KKK KKK KKK KK KKK KEKE KKK KKK HK KR RK KKK KKK IKKE RK KK KKK KKK EK KKK EK KKK KKK KEKE KK KKK KKK KKKKKKKKKKKKKKKKK

POC: Jose M. De Jesus — Case # IAO 49110/SL
The FCO Contact is: Martin Stanford 716 - 565 - 2039
pp Officer is: Michael Phillips (OTHER) 716 — 843 - 7611

 

 

 

HQ, Washington - PLEPU

 

 

 

(Signature of Immigration Officer) (Authorizing Office)

 

ARRIVAL STAMP
Oeac [\ wb
Oro Toonoly

Doe 221G WP S212

 

 

 

 

Form I-512 (Rev. 10-1-82) Y
Case 1:22-cv-00057-LJV Document 1 Filed 01/20/22 Page 16 of 84

CERTIFICATE OF SERVICE

On August 15, 2019, I Darwin Johan Gutierrez Flores, the undersigned, served the within:

Addendum to Standard Form 95
Exhibits 1 through 17

On each person/entity listed below addressed as follows:

By regular mail

Attorney General

U.S. Department of Justice

950 Pennsylvania Avenue, NW
Washington, DC 20530-0001

U.S. Department of State
2201 C Street NW
Washington, DC 20520

U.S. Citizenship and Immigration
Services

306 Delaware Avenue
Buffalo, NY 14202

Office of the Principal Legal Advisor
Immigration and Customs Enforcement
U.S. Department of Homeland Security
500 12™ Street SW, Washington, DC
20024

U.S. Customs and Border Protection
Office of the Chief Counsel

1300 Pennsylvania Avenue, NW
Washington, DC 20229

U.S. Department of Health and
Human Services

Office of the General Counsel

200 Independence Ave. SW
Washington, DC 20201

Office of the Chief Clerk
Board of Immigration Appeals
5201 Leesburg Pike, Suite 2000
Falls Church, VA 22041

OPLA — ICE

U.S. Department of Homeland
Securi

500 12” Street SW

Washington, DC 20024

U.S. CIS —DHS

Office of the Chief Counsel

20 Massachusetts Ave. NW Room
4210

Washington, DC 20529-2120

Office of General Counsel

U.S. Department of Homeland
Security

245 Murray Lane

SW Mail Stop 0485

Washington, DC 20528-0485

I declare under penalty of perjury that the foregoing is true and correct.

Execute on August 15, 2019 at Buffalo, N.Y.

Darwin Johan fe Flores
Case 1:22-cv-00057-LJV Document 1 Filed 01/20/22 Page 17 of 84

ADDENDUM TO STANDARD FORM 95
8. BASIS OF CLAIM
On a timely request from a (BIA) decision dated August 22, 2017 (See, Ex. 1)

I. J Darwin Gutierrez-Flores Automatically Derived U.S. Citizenship from my mother
Azucena Flores on July, 7 1996 under the now repealed Section 1432(a) that section
Was replaced by 8 U.S.C §1431 [INA§320 (a)], Child Citizenship Act(“CCA”)
Effective on February 27, 2001. I Met all of the criteria of section 1432(a), codified at
INA § 321(), on July 7, 1996. Therefore, I’ve became an automatically derived United
States citizen (U.S.C.), on that day. Hughes v. Ashcroft, 255 F.3d 752, 760, co" Cir.
2001) (holding that “the granted automatic citizenship ... to those children who were
under the age of 18, and who met the other criteria, on or after February 27, 2001”). On
my case was under the now repealed section 1432(a) in which was still applicable in
my case I was 16 years old and living in the United States as lawful permanent resident in
the physical and legal and sole custody of my mother, Azucena Flores. My mother had
naturalized on July 7, 1996. (See, Ex. A) (Certificate of Naturalization). Accordingly by
automatic operation of law, I became a U.S.C citizen on July 7 1996 and I’ve has been a
citizen ever since.

My citizenship was not recognized by Immigration Judge STEVEN J. CONNELLY (IJ) In
BATAVIA, NY, who therefore the (IJ) did not terminated removal proceedings and order my
removal to Honduras on March 27, 2012. (See, Ex. B)(I.J.Op., attached). Moreover, on an
appeal submitted on November 25, 2011 to the Board of Immigration Appeal (BIA), The
Department of Homeland Security (DHS) conceded that many individuals cases whose claims
mirrors my were indeed derivatives U.S. citizen. (See, Ex. Rowe, Gorsiras, Hines cases?).

II. DHS Has Important Legal Obligations to Individuals Claiming U.S. Citizenship

Prior to exercising its civil enforcement authority, DHS must “establish the facts supporting
deportability by clear, unequivocal, and convincing evidence. “ Woodby v. INS, 385 U.S. 276,
277(1996). Additionally, ICE headquarters has issued policy memoranda requiring all agents to
investigate fully any individual’s claim to U.S. citizenship prior to taking him into custody and
initiating removal proceedings. (See, e.g., Ex. 5) (Memorandum from John Morton, Assistant
Secretary, ICE, to Field Office Directors, Special Agents in Charge, and Chief Counsels,
“Superseding Guidance on Reporting and Investigating claims to United State Citizenship”
(Nov. 19, 2009).
Case 1:22-cv-00057-LJV Document 1 Filed 01/20/22 Page 18 of 84

The 2009 Memorandum further requires that any claim to U.S. citizenship by individuals already
in DHS custody be “immediately examine[d].”(See,Ex.?) Local agents must be prepared a report
within twenty-four hours and submit it to headquarters, and headquarters’ response must be
noted in the ENFORCE Alien Removal Module (EARM) (. Id. Thus, all decisions as to an
individual’s citizenship status should be readily apparent from this standard interface. Finally,
“Lif the individual’s claim is credible on if the individual's claim is credible on its face, or if the
investigation results in probative evidence that the detained individual is a USC, the individual
should be released from detention. “ Id.

II. DHS’s Tortious Conduct Caused me to Lose 5 Years of my Life in 36 month in DHS
Custody and 2 years as a deportee in Honduras; to Undergo the Anxiety of Removal
Proceedings for Almost Three Years; and to Suffer Long-Term Mental and
Emotional Distress to this day, family events like the birth of my son, graduations,
sister wedding.¢: ond Miss

Despite having determined that I was a U.S. citizen in 2002, DHS caused me extreme mental
anguish by initiating removal proceedings in 2011, and subsequently unlawfully detaining me for
3 years, on the incorrect ground that Je wastdeportable alien. On mine numerous efforts to
explain my claim to U.S. citizenship were unavailing because ICE failed to reasonably
investigate and report them. Significantly, during my prolonged and unlawful detention, DHS
conceded in a 39-page brief to the BIA that respondent Davino Hopeton Watson, whose
citizenship case mirrors my case had derived U.S. citizenship under the CCA.( See, Ex. Watsons
case?) see infra Part V. If DHS had reasonably investigated my claim, or simply been aware of
its own position in my case like many other cases around the country, I would not have lost
nearly 3 years of my life in DHS custody and 2 and a half years as a deportee in Honduras.

In January 30, 2001, when I was first arrested in North Tonawanda, N.Y., for the offence that
ultimate was convicted in Niagara County, NY. On December 13, 2002, I’ve received a visit
from two ICE agent’s, at this time I was arrested by Immigration and Naturalization service
(INS), I was finger printed and also signed a Notice of Rights and request for Disposition,

(See, Ex. D). At this time the agent that told me that he would place a detainer or if I knew any
big time criminals to give up they will let me go but also stated that he would make some
inquiries and lift the detainer depending on what he learned. A few days later I was release 3
days later from the North Tonawanda jail pending resolution of the case. I assume that ICE had
determined that I was a U.S citizen. Accordingly, I was released from the North Tonawanda jail

without further contact with ICE.

For this reason, I was shocked when on November 22, 2002 was approached a second time and
arrested and finger printed a second time and signed another a Notice of Rights and Request for

2
Case 1:22-cv-00057-LJV Document 1 Filed 01/20/22 Page 19 of 84

Disposition prepare by ICE agent by the name of William V. Bass the 2 at the Niagara County
Jail.(See, Ex 8) Also agent William V. Bass the 2 from the United States Department of Justice
Immigration and Naturalization service prepare a record of sworn statement in affidavit form
and a Derivation of USC check list, (See, Ex 9)

I asked why the agent wished to meet with me or what’s this about, as I was a derivative U.S.
citizen. First Unknown ICE Agent justify by saying just checking your status. I was convicted of
one count of Criminal Contempt 1* A class E Felony non- violent, I was sentenced on
December 13, 2002. Noting that on the record of sentencing minutes the prosecutor had received
information that the records from INS showed that I’ve already derived U.S. Citizenship through
my mother and that I was NOT going to be deported, (See, Ex, 10) I was sentence to a term of
001 years, 04 Months with a maximum of 004 years, I was release on conditional release on
December 13, 2004 with maximum expiration date April 13, 2006, (See, Ex.11).

I arrived at the Elmira Correctional Facility, in Elmira, NY, on February 13, 2003 to begin my
sentence, on that day the reporting officer or director of the Facility Donna J. Goodwin sent to
the District Director or officer in charge, Immigration and Naturalization Service in BUFFALO
NY a report saying the “The following named person believed to be an Alien was committed to
this Correctional Institution as an inmate”. That report was received and stamped by Buffalo
Immigration and naturalization Services on March 3, 2003. (See, Ex. 12). And on March 4,
2003 at 12:45:40 and 13:08:49 Immigration and Naturalization Service Buffalo was searching
their database for Darwin Gutierrez-Flores status that search clearly indicated on their on hand
writing the response to Elmira Correctional Facility, “Elmira USC” indicating my United States
Citizenship. (See, Ex. 13).

ICE issued a Notice to Appear on June 13, 2011, based on my 2002 conviction and after being
release from Criminal custody on December 13, 2004 that is eight years after that conviction
violating due process of law by denying me bond, and initiating removal proceedings by filing it
with the Batavia Immigration Court in, 2011. I was arrested by ICE agents on July 11, 2011 at Win,
his place of residence 24 Winegar PL, West Seneca, NY 14210 at around 5:30 in the moming I
woke up to laud banging on the door by ICE agents claiming that a car park on private property
had no insurance, while talking for 30-to 45 minutes through the lock door in my residence I
was so scare and always told the ICE agents that I’m a United States Citizen that’s why I open
the door they ICE agents lie saying we only taking you to ICE headquarters to clear this up.
(See, Ex.14) I was taken to the Buffalo ICE Headquarters for finger print Processing and sent
to Erie county Holding Center to be transfer to 4250 Federal Drive, Batavia NY, 14020 that is
the location of the Batavia Immigration Detention and Immigration court at the time of my
removal proceedings, On my first initial appearance in Immigration court with Immigration
Judge NANCY R. MCCORMACK via a televised court hearing from Miami, Florida on
August 25, 2011 she, will notice the many violations committed already by the adjudicator of
my N-600 and also will be committed by known and unknown Immigration And Naturalization
Service (INS), Immigration And Customs Enforcement (ICE) agents, Immigration Judge (IJ)

3
Case 1:22-cv-00057-LJV Document 1 Filed 01/20/22 Page 20 of 84

STEVEN J. CONNELLY, and The Department Of Homeland Security Counsels (DHS), also
the Board Of Immigration Appeals (BIA) (See, Ex. 15). Working jointly to an unjust denial of
bond, failing to investigate my Citizenship claim and after being release from criminal custody
seven years prior and nine years after being sentence for the charge of removal giving me a
prolong detention in BATAVIA IMMIGRATION DETENTION FACILITY violating due
process of law causing a tremendous anxiety disorder in which I underwent the stress of
unlawful imprisonment denial of rights due process and ultimately removal to Honduras the
most dangerous country in the world without a war specially San Pedro Sula where I was born
and live that was the most dangerous City in the world at the time of my deportation in March,
2014 giving me a “DEATH SENTENCE”.

Moreover, I’ve spent 36 months in criminal at varies Correctional facilities in New York state,
After being convicted on December, 13, 2002, conviction for which I was held in criminal
custody until about December, 13 2004. Although was parole until May 2005, Immigration
authorities has been notify numerous times for the offence related to my deportation see
Exhibits related to notifications to (DHS)(See, Ex. 7-10, 12-13).

IV. NYINS OR BUFFALO US INS OR DHS Buffalo, Failure’s to Reasonably
Investigate Persisted Despite my Claiming of Citizenship to at Least Three or more
INS USCIS OR USINS District Director and Additional INS Officers or ICE
Officers

A. My numerous Encounter’s_with Unknown and known INS and ICE Agent’s

My first encounter with an INS agent’s was on January 30, 2002 when I was arrested and signed
a Notice of rights and Request for Disposition (See, Ex. 7). I was thereupon handcuffed, and
transferred to ICE’s processing center in Buffalo NY.

During processing, I informed Second Unknown ICE Agent that I was a U.S. citizen and
requested that the agent check his records, The Second time I was encounter by INS/ICE agents
was on November 22, 2002 at the Niagara County jail Lockport NY. I was arrest again finger
print by ICE/INS agents and signed another NOTICE OF RIGHTS FOR DISPOSITON .(See,
Ex.8) was stated that his computer records showed that ICE/INS meet with Darwin two weeks
prior to his release from criminal custody in 2004 at COLLINS CORRECTIONAL FACILITY,
that he had been determined to be a citizen.” YOU LUCKY YOUR MOM BECAME A
UNITED STATES CITIZEN” Thus, it appears that the EARM had not been updated to reflect
that I was a citizen. Rather than indicating that he would investigate my claim, Second Unknown
ICE Agent merely told me that I should take up the matter with an Immigration Judge. As such,
it appears that Second Unknown ICE Agent failed to take the required step of reporting my case
Case 1:22-cv-00057-LJV Document 1 Filed 01/20/22 Page 21 of 84

to headquarters and failed to handle my citizenship claim with “the utmost care.and highest
priority.”

At the time of my many encounters with known and Unknown ICE Agent’s, evidence existed
that I was a U.S. citizen. First, I was first by informed by known and Unknown ICE Agent’s that
I was a U.S. citizen. Moreover, I’ve already had told First Unknown ICE agent that I’m a citizen
since 1996. Perhaps most significantly, an ICE agent had agreed with Darwin that he was a
derivative U.S. citizen in 2002. Second Unknown ICE Agent was aware of these prior
encounters and of evidence of citizenship. Therefore, Second Unknown ICE agent was negligent
in failing to report Darwin’s case the chain of command. As directed in ICE headquarters’
memorandum, “if evidence indicates that if an individual claim he is a U.S. citizen, ICE should
neither arrest nor place the individual in removal proceedings. “(See, Ex.5) Moreover, “[iJn all
cases, any uncertainly about whether the evidence is probative of U.S. citizenship should weigh
against detention.”

7. Emotional and Physical Distress

At the Batavia Immigration Detention, I was housed with both immigration detainees and violent
Federal criminal defendants held on charges ranging from theft to murder, that is a clear
violation because immigration is a civil matter.

I was also deeply affected by his mother’s reaction to his potential deportation (See, Ex.16). His
family members reported that she was terribly anxious and losing weight. I’ve also lost weight
and could not eat for several days when Immigration Judge Steven J. Connelly initially ordered
me removed on March 27, 2012.

I’ve experienced an anxiety disorders that he attributes to his profoundly stressful experiences
during removal proceeding and unlawful detention by ICE and DHS and co-conspirators.

While at BATAVIA, I continued to advise ICE/Todd Tryon/deportation officer; Anderson or
Henderson and various Immigration agencies by mail that I was a U.S. citizen and should be
released. For example, he indicated that I was a U.S citizen both on written “request/reply” forms
and orally to a deportation officer Anderson or Henderson who was the deportation officer for
the country of Honduras at the time of his removal proceedings I’ve also provided the
deportation officer with (FOIA) documents showing clear proof of US citizenship.

V. DHS Failed to Release me or Withdraw Removal charges Even after providing clear
evidence that in fact I’ve have been a citizen of this country since July 7, 1996.

I was unlawfully detained and undergoing the traumatic ordeal of removal proceedings and
removal to a country that most violent and that I did not know as my home since I’ve been in the
United States since I was twelve years old this country is what I’ve known as home since the
Case 1:22-cv-00057-LJV Document1 Filed 01/20/22 Page 22 of 84

time of my arrival in 1992, (See, Ex. 17). If DHS had taken its position in many analogous cases
around the country that I was a U.S. citizen and released me from detention. Specifically, on
November 25, 2011, I’ve submitted documents from the FREEDOM OF INFORMATION ACT
(FOIA) and cases Matters of ROWE, HINES, GORSIRA and more cases around the country, in
which it conceded that I was a citizen under the same law.

Like me, HINES, ROWE, GORSIRA was born out-of-wedlock and immigrated to the United
States on their mother’s visa petition, and derived citizenship when their mothers naturalized and
they were under the age of 18. As in all those cases, the legal issue was whether I was
“legitimated” under Matters of Clahar, 18 I&N Dec (BIA 1981). IN its brief, DHS stated those
individuals, who, like ROWE, HINES, and GORSIRA where NOT legitimated under Matters of
Clahar, were not affected by the BIA’s later ruling in Matters of Hines, 29 I&N Dec. 544 (BIA
2008), which changed the rule on how legitimation occurs in Jamaica and other parts of the
world. Moreover, DHS specifically argued that Matter of Hines could NOT apply prospective
because Clahar is a visa petition case as they (DHS) ambiguous apply to most of its cases.

Because of all the above-described events, including imposition of an unlawful detainer, the
threat of removal, prolonged unlawful incarceration, and the inability to exercise the rights and
privileges of citizenship, I have suffered significant mental anguish, anxiety, fear, severe and
extreme emotional distress, loss of liberty, loss of wages, attorney fees, humiliation, shame, and
emotional and physical upset, some of which injuries are permanent in nature and duration. As a
result of acts and omissions by DHS agents and officials, including but not limited to ICE and
US. Citizenship and Immigrations Services, Darwin was falsely arrested and imprisoned,
subjected to the intentional infliction of emotional distress, the negligent infliction of emotional
distress, malicious prosecution, vexatious litigation, and abuse offe Sess Due to their acts and
/or omissions, agents of the above listed agencies and/or officials were negligent, reckless, and
wanton. Moreover, the above listed agencies and /or officials acted negligently in their hiring,
training, retention, and supervision of their agents, employees, and/or officials.

10. PERSONAL INJURY

As a result of the tortious conduct and the personal injuries described above in response , I
suffered various torts including, but not limited to: false imprisonment; false arrest; malicious
prosecution; malicious abuse offprocess; vexatious litigation; intentional infliction of emotional
distress; negligent infliction of emotional distress; negligence; negligent hiring; negligent
‘supervision; negligent retention; and negligent training.
Case 1:22-cv-00057-LJV Document 1 Filed 01/20/22 Page 23 of 84

DAMAGE SEEKING
See Standard Form 95 at 12b. & 12d.

EXHIBITS

1. BiA decision August 22, 2017

2. Mom Certificate of Citizenship

3. Decision of Judge deportation March 27, 2012

4. Cases Rowe, Hines, Gorsira and more

5. John Morton Memorandum November 19, 2009

6. Watsons Case

7. Notice of Rights and request for disposition January 30, 2001.
8. Notice of Rights and request for disposition with finger prints by William V. Bass II
9. USC check list by William V. Bass II

10. Sentencing Minutes December 13, 2002

11. Length Dates of Sentence

12. Report sent by Elmira to INS

13. INS Checking Records with hand writing “USC ELMIRA”

14. Arrest by ICE July 2011

15. Transcript Judge Nancy R. McCormack August 25, 2011

16. Moms Letter to Judge

17. Visa Face Sheet

Peal, 9

Darwin Johan Gutierrez Flores
Case 1:22-cv-00057-LJV’ Document 1 Filed 01/20/22 Page 24 of 84

 
Case 1:22-cv-00057-LJV Document 1 Filed 01/20/22 Page 25 of 84

 

U.S. Department of Justice
Executive Office for Immigration Review

Board of Immigration Appeals
Office of the Clerk

 

Murray, Laura

Federal Immigration Appeals Project, PLLC
Six Beacon Street, Suite 900

Boston, MA 02108

Name: GUTIERREZ-FLORES, DARWIN ...

3107 Leesburg Pike, Suite 2000
Falls Church, Virginia 22041

DHS/ICE Office of Chief Counsel - BTV
4250 Federal Dr.
Batavia, NY 14020

A 043-562-957

Date of this notice: 8/22/2017

Enclosed is a copy of the Board's decision and order in the above-referenced case.

Sincerely,

Us

L, Cbs

Cynthia L. Crosby
Deputy Chief Clerk

Enclosure

Panel Members:
Kendall Clark, Molly

Userteam: Docket

 
Case 1:22-cv-00057-LJV Document 1 Filed 01/20/22 Page 26 of 84

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US. Department of Justice Decision of the Board of Immigration Appeals
Executive Office for Immigration Review

Falls Church, Virginia 22041

      
 

File: 043 562 957 ~ Batavia, NY Date: AUG 2 2 2017
In re: Darwin John GUTIERREZ-Flores a.k.a. Darwin Gutierrez a.k.a. James Rodriguez
IN REMOVAL PROCEEDINGS

MOTION

ON BEHALF OF RESPONDENT: Laura Murray Tjan, Esquire

ON BEHALF OF DHS: Chloe Krouse
Oo Assistant Chief Counsel

This case was last before the Board on July 14, 2015, when we denied the respondent’s motion
to reopen his removal proceedings. This case is now before the Board pursuant to an April 4, 2017,
decision of the United States Court of Appeals for the Second Circuit. The Second Circuit
remanded the case for the limited purpose of allowing the agency to assess in the first instance the
respondent’s claim that he is a United States citizen.

Upon remand, the respondent has proffered evidence that he is now a United States citizen.
The Department of Homeland Security (DHS), in turn, has filed a motion to terminate these
proceedings based on the respondent’s recent acquisition of United States citizenship status. In
view of the foregoing, the following orders will be entered.

ORDER: The DHS’s motion to terminate is granted, and these proceedings are hereby
terminated.,!

FURTHER ORDER: The respondent’s motion to reopen is denied as moot.

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VALE NO BAL Oaste

OR THE BOARD

 

' The parties shall notify the Second Circuit of our decision.
Case 1:22-cv-00057-LJV Document 1 Filed 01/20/22 Page 27 of 84

 
LJV Document 1 Filed 01/20/22 Page 28 of 84

cv-00057-

Case 1:22

12/8/2019

 

azucenaFlores_citizenshipCertificate.jpg

 

 

 

    

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EW YORK, NY

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We COMCIMOMY conducted. by the
U.S. DISTRICT COURT
FOR THE SOUTHERN DISTRICT

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Case 1:22-cv-00057-LJV Document 1 Filed 01/20/22 Page 29 of 84

 
 

 

we me IMMIGRATION COURT ~~ .

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“oe . . Case No. : A043-562-957 o
__ GUTTERRREZ- -FLORES, DARWIN- JOHN “ag
Beh Respondent OR TM, REMOVAL | PROCEEDINGS
oR : ORDER OF' THE IMMIGRATION JUDGE

#0 This is a summary of the oral decision entered on 0/2,

This memorandum is solely for the convenience of the parties: If the
proceedings should be appealed or reopened, the oral decision will become
the official opinion in the case.
th The respondent was ordered removed from the United States to Hodurys
or in the alternative to . ~ ie
{ ] Respondent's application for voluntary departure was denied and
respondent was ordered removed to or in the ee
alternative to . ’
{ ] Respondent's application .for voluntary departure was granted until.
“upon posting a bond in the amount of $
with an alternate order of.removal to .
Respondent's application for:
{[ ] Asylum was ( )granted ( )denied(’ )withdrawn.
{ ] Withholding of removal“was.( )granted ( )denied ( -)withdrawn.-
A Waiver under Section was'( )granted ( )denied ( )withdrawn.

“ge (y1 Cancellation of removal under section 240A(a) was ( )granted (%)denied
. . (NAT D

“( )withdrawn.

” gt” Respondent's application for: , St Lo

{- ] Cancellation under ‘section 240A(b) (1) was ( ) granted ( ) denied

( ) withdraw. If granted, it is ordered that the respondent be issued 4
-.-. all appropriate documents necessary to give effect to this order. ,
{ .] Cancellation under section 240A(b) (2) was ( )granted ( , )denied

( )withdrawn. -If granted it is ordered that the respondent be issued

all appropriated documents necessary to give effect to this order.

{ J] Adjustment of Status under Section was ( )granted ( )denied’.
( )withdrawn. If granted it is: ordered that the respondent be issued” wo
, all appropriated documents necessary to give effect to this order.”
[ ] Respondent's application of ( ) withholding of removal ( ) deferral of °
removal under eens III of the Convention Against Torture was
{ ) granted (, denied ( ) withdrawn.

Respondent's statue was rescinded under section 246.

Respondént is admitted. to the United States asa _- until

As a condition of admission, respondent..is to post a $ bond.
Respondent knowingly filed a frivolous asylum application after proper
notice.

[. ] Respondent was advised of the limitation on discretionary relief for
failure to appear as ordered in the Immigration Judge's oral decision.

. « ] Proceedings were terminated.
* [4] other: Muha dy tetimin te unser IVA $321 {a 3) denica

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Appeal: Waived

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EXE

 
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Cases Related To Derivation of Citizenship

1. Matter of Shawn Theodore Hines
Cite as 24 1 & N Dec. 544 (BIA 2008)

2. Matter of Lawrence Rowe
Cite as 23 I & N Dec. 462 (BIA 2006)

3. Matter of Gorsira V. Loy
United States District, D. Connecticut February 16, 2005
Cite as 357 F. Supp. 2d 453 (D. Conn. 2005)

4. Matter of Carlos Garcia
United States Court of Appeals, Second Circuit
Cite as 643 F. 3d 367 (2™ Cir. 2011)

5. Matter of Nwozu V. Holder
United States Court of Appeals, Second Circuit
Docket No. 11-5089-ag
Decided: August 12, 2013

And more around the country.....
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Policy Number: 16001.1 Office of the Assistant Secretary

FEA Number; 045-01
U.S. Department of Hometand Security
500 [2th Street, SW
Washington, D.C: 20536

US. Immigration
and Customs
Enforcement

 

MEMORANDUM FOR: Field Office Directors
Special Agents in Charge
Chief Counsel

FROM: John Morton 7 “i 4 Les
Assistant Secretary

SUBJECT: Superseding Guidance on Reporting and Investigating Claims
to United States Citizenship

This memorandum supersedes the guidance issued on November 6, 2008, entitled “Superseding
Guidance on Reporting and Investigating Claims to United States Citizenship.” This guidance is
intended to ensure claims to U.S. citizenship receive immediate and careful investigation and
analysis.

While performing their duties, U.S. Immigration and Customs Enforcement (ICE) officers, agents,
and attoreys, may éncounter aliens who are not certain of their status or claim to be United States
citizens (USC). As the Immigration and Nationality Act (INA) provides numerous avenues for a
person to derive or acquire U.S. citizenship, ICE officers, agents, and attorneys, should handle
these matters with the utmost care and highest priority. While some cases may be easily resolved,
because of the complexity of citizenship and nationality law, many may require additional
investigation.and substantial legal analysis. As a matter of law, ICE cannot assert its civil
immigration enforcement authority to arrest and/or detain a USC. Consequently, investigations
into an individual’s claim to U.S. citizenship should be prioritized and Office of Investigations (OI)
and Detention and Removal Operations (DRO) personnel must consult with the Office of the
Principal Legal Advisor’s (OPLA) local Office of the Chief Counsel (OCC) as discussed below.

Claims at the Time of Encounter

When officers and agents encounter an individual who they suspect is without lawful status but
claims to be a USC, the:situation will fall into one of three categories: 1) evidence indicates the
person is a USC; 2) some evidence indicates that the individual may be a USC but is inconclusive;
and 3) no probative evidence indicates the individual is a USC. If evidence indicates the individual
is a USC, ICE should neither arrest nor place the individual in removal proceedings. Where there
is some probative evidence that the individual is a USC, officers and agents should.consult with
their local OCC as soon as practicable. After evaluating the claim, if the evidence of U.S.
citizenship outweighs. evidence to the contrary, the individual should not be takeii iiito custody.
The person may, however, still be placed in removal proceedings if there is reason to believe the

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Case 1:22-cv-00057-LJV Document 1 Filed 01/20/22 Page 35 of 84

Subject: Superseding Guidance on Reporting and Investigating Claims to United States
Citizenship

individual is in the United States in violation of law. Finally, where no probative evidence of U.S.
citizenship exists and there is reason to believe the individual is in the United States in violation of
law, the individual may be arrested and processed for removal. In all cases, any uncertainty about

whether the evidence is probative of U.S. citizenship should weigh against detention.

Claims by Individuals Subject to an NTA

Agents and officers must fully investigate the merits of any claim to citizenship made by an
individual who is subject to a Notice to Appear (NTA), whether the claim was made before or after
the NTA was served on the individual. Such investigations should be prioritized and Ol and DRO
personnel should consult with their local OCC as soon as practicable when investigating such
claims. In addition, OI and DRO, along with their local OCC, must jointly prepare a memorandum
examining the claim using the attached template. A notation should be made in the Enforce Alien
Removal Module (EARM) and a copy of the memorandum should be placed in the alien’s A-file.
The memorandum should also be saved in the General Counsel Electronic Management System
(GEMS) and notated using the designated GEMS barcode.

Claims by Detained Individuals

If an individual already in custody claims to be a USC, an officer must immediately examine the
merits of the claim and notify and consult with his or her local OCC. If the individual is
unrepresented, an officer must immediately provide the individual with the local Executive Office
for Immigration Review (EOIR) list of pro bono legal service providers, even if one was previously
provided.

DRO and OPLA must also jointly prepare and submit a memorandum examining the claim and
recommending a course of action to the HQDRO Assistant Director for Operations at the “USC
Claims DRO” e-mailbox and to the HOOPLA Director of Field Operations at the “OPLA Field
Legal OPS” e-mailbox. Absent extraordinary circumstances, this memorandum should be
submitted no more than 24 hours from the time the individual made the claim. HQDRO and
HQOPLA will respond to the field with a decision on the recommendation within 24 hours. A
notation should be made in EARM and a copy of the memorandum and resulting decision should
be placed in the alien’s A-file. The memorandum and resulting decision should also be saved in
GEMS and notated using the designated GEMS barcode.

If the individual’s claim is credible on its face, or if the investigation results in probative evidence
that the detained individual is a USC, the individual should be released from detention. Any
significant change in circumstances should be reported to the “USC Claims DRO” e-mailbox and
the “OPLA Field Legal Ops” e-mailbox.

Examination of the Merits
Interviews with detainees making such claims must be conducted by an officer or agent in the

presence of and/or in conjunction with a supervisor. Interviews will be recorded as sworn
statements and must include all questions needed to complete all fields on a Record of Deportable
Case 1:22-cv-00057-LJV Document 1 Filed 01/20/22 Page 36 of 84

Subject: Superseding Guidance on Reporting and Investigating Claims to United States
Citizenship

Alien, Form I-213. In addition, the sworn statement must include additional probative questions
designed to elicit information sufficient to allow a thorough investigation of the person’s claim of
citizenship. Additional steps to be taken may include vital records searches, family interviews, and
other appropriate investigative measures. Officers and agents should also work with their local
United States Attorney’s Office to ensure that any statement includes information sufficient to use
in prosecuting appropriate cases under 18 U.S.C. § 911, should it ultimately come to light that the
individual intentionally made a false claim to U.S. citizenship.

State and Local Officers with Authority under INA § 287(g)

Field Office Directors (FODs) and Special Agents in Charge (SACs) shall ensure that all state and
local officers with delegated immigration authority pursuant to INA § 287(g) within their area of
responsibility understand and adhere to this policy. FODs and SACs are expected to thoroughly
investigate all USC claims made by individuals encountered by 287(g) designated officers.
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Matter of Divino Watson

United States Court Of Appeals, Second Circuit
Docket No: 09-0657-ag

Decided: May 31, 2011
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EXHIB

 
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U.S. Department of Justice

 

Immigration and Naturalization Service - Notice of Rights and Request for Disposition

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File No:

Name:

 

 

 

NOTICE OF RIGHTS

You have been arrested because immigration officers believe that you are illegally in the United States. You

have the right to a hearing before the Immigration Court to determine whether you may remain in the United

States. If you request a hearing, you may be detained in custody or you may be eligible to be released on bond,

until your hearing date. In the altémative, you may request to return to your country as soon as possible,
without a hearing.

You have the right to contact an attorney or other legal repiesentative to represent you at your hearing, or to
answer any questions regarding your legal rights in the United States. Upon your request, the officer who gave
you this notice will provide you with a list of legal organizations that may represent you for free or for a small
fee. You have the right to communicate with the consular or diplomatic officers from your country. You may
use a telephone to call a lawyer, other legal representative, or consular officer at t any time prior to your departure
from the United States.

 

 

REQUEST FOR DISPOSITION

-0 I request a hearing before the Immigration Court to determine whether or not I may remain in the
Initials United States.

0 I believe I face harm if I retam to ty comatty Mi case will Be refeared to the Immigration Cone
Initials for a hearing.
0 I admit that I am in the United States illegally, and I believe I do not face harm if] return to my

Initials country. I give up my right to a hearing before the Immigration Court. I wish to return to my
country as soon as arrangements can be made to effect my departure. I understand that I may be

 

 

 

 

 

 

 

 

 

held in detention until my departure.
Signature of Subject Date
CERTIFICATION OF SERVICE
C1 Notice read by subject
(1 Notice read to subject by ___, in the language.
Name of Service Officer (Print) Name of Interpreter (Print)
Signature of Officer Date and Time of Service

 

@ , @ Form 1-826 (4/197) -

    

 

 
Case 1:22-cv-00057-LJV Document1 Filed 01/20/22 Page 41 of 84

' §, Department of Justice . : . @ . :
amigration and Naturalization Service Notificacién ‘de Derechos y Solicitud de Resolucién

Expediente Not Af ¥3 56) 95 ?

lombre: Diba! JOHAN GUTIERLEE - FLOLES

   

 

 

NOTIFICACION DE DERECHOS

Usted ha sido detenido porque el Servicio de Inmigracién opina que se encuentra en los Estados Unidos

ilegalmente. Tiene derecho a una audiencia ante el Tribunal de Inmigracién, con el fin de decidir si’

puede permanecer en los Estados Unidos. En el caso de que Usted solicite esa audiencia, pudiera quedar

detenido o tener derecho a la libertad bajo fianza hasta la fecha de la audiencia. Tiene la opciédn de
- Solicitar el regreso a su pais a la brevedad posible, sin que se celebre la audiencia..

. Usted tiene derecho a comunicarse con un abogado u otro representante legal para que lo represente en
la audiencia, o para responder a cualquier pregunta acerca de sus derechos conforme a la ley en los
Estados Unidos. Si Usted se lo pide, el funcionario que le haya entregado esta Notificacién le dard una
lista de las asociaciones juridicas que podrian representarlo gratuitamente 0 a poco costo. Tiene derecho
a comunicarse con el servicio consular o diplomitico de su pais. Puede usar el teléfono para Hamar a un
abogado, 0 a otro representante legal, o a un funcionario consular en cualquier momento anterior a su
salida de los Estados Unidos.

 

 

SOLICITUD DE RESOLUCION

' DG 0 soticito una audiencia ante el Tribunal de Inmigracién que resuelva si puedo o no permanecer
iniciates, «© €N. los Estados Unidos.

O) Considero que estaria en peligro si-regreso a mi pais. Mi caso se trasladar4 al Tribunal de
niciales  Inmipracién para la celebracién de una audiencia. .

( Admito que estoy ilegalmente en los Estados Unidos, y no considera que estaria en peligro si

‘niciates -- TEgreso a mi pais.. Renuncio a mi derecho a una audiencia ante el Tribunal de Inmigracién.

‘Deseo regresar a mi pafs en cuanto se pueda disponer mi salida. Entiendo que pudiera
permanecer detenido hasta mi salida..

 

 

 

 

 

 

 

 

 

 

Firma del sujeto -
CERTIFICATION OF SERVICE
K Notice read by subject oO .
Notice read to subject by , in the language.
Name of Service Officer (Print) ~ Name of Interpreter (Print)
Signature of Officer Date and Time of Service

 

 

Form 1-826 (4/1/97) N
Case 1:22-cv-00057-LJV Document 1 Filed 01/20/22 Page 42 of 84

 

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. U.S. Department of Justice - .
Immigration and Naturalization Service __ Notice of Rights and Request for Disposition
L , File No:____
Name:

 

 

 

 

NOTICE OF RIGHTS

You have been arrested because immigration officers believe that you are illegally in the United States. You
have the right to a hearing. before the Immigration Court to determine whether you may remain in the United
States. If you request a hearing, you may be detained in. custody or you may be eligible to be released on bond,
until your hearing date. In the altemative, you may request to return to your country as soon as possible,
without a hearing. Lo

You have the right to contact an attorney or other legal representative to Tepresent you at your hearing, or to
-] answer any questions regarding your legal rights in the United States. Upon your request, the officer who gave
‘ you this notice will-provide you with a list of legal organizations that may represent you for free or for a small
fee. You have the riglit to communicate with the consular or diplomatic officers from your country. You may

use a telephone to call a lawyer, other legal representative, or consular officer at any time prior to your departure
from the United States.

 

 

REQUEST FOR DISPOSITION

0 I request a hearing before an immigration judge to determine whether or not I may remain in the
ipiéas United States.

 

0 Ibelieve I face harm if retum to my country. My case will be referred to the Immigration Court .
Initials for a hearing. CT
OQ} Yadmit that I am in the United States illegally, and I believe I do not face harm if I return to my

initials’ country. I give up my right to a hearing before the Immigration Court. I wish to return to my
country as soon as arrangements can be made to effect my departure. J understand that I may be

 

 

 

 

 

 

 

 

held in detention until my departure.
Signature of Sabject Date
. CERTIFICATION OF SERVICE
L Notice read by subject
C1] Notice read to subject by , in the language.
Name of Service Officer (Print) Name of Interpreter (Print)
Date and Time of Service

 

 

 

Signature of Officer

@ ’ : 6 Form 1-826 (4/1/97) N

 

 

 
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US, Department of Justice 6
Immigration and Naturalization Service Notificacién de D s y Solicitud de Resolucién

' Expediente No: 43 56a GS:
Nombre: Darwin Johan bu ] LERREZ- FL ORES

NOTIFICACION DE DERECHOS

Usted ha sido detenido porque el Servicio de Inmigracién opina que se encuentra en los Estados Unidos
ilegalmente. Tiene derecho a una audiencia ante el Tribunal de Inmigracién, con el fin de decidir si
puede permanecer en los Estados Unidos. En el caso de que Usted solicite esa audiencia, pudiera quedar
detenido o tener derecho a 1a libertad bajo fianza hasta la fecha de la audiencia. Tiene la opcién de
solicitar el regreso a su pais a la brevedad posible, sin que se celebre la audiencia.

 

 

 

 

Usted tiene derecho a comunicarse con un abogado uw otro representante legal para que lo represente en
la audiencia, o para responder a cualquier pregunta acerca de sus derechos conforme a la ley en los
Estados Unidos. Si Usted se lo pide, el funcionario que le haya entregado esta Notificacién le dara una
lista de las asociaciones juridicas que podrian representarlo gratuitamente o a poco costo. Tiene derecho
a comunicarse con el servicio consular o diplomatico de su pais. Puede usar el teléfono para lamar a un
abogado, o a otro representante legal, o a un funcionario consular en cualquier momento anterior a su

salida de los Estados Unidos.

 

 

SOLICITUD DE RESOLUCION

W Soticito una audiencia ante el Tribunal de Inmigracién que resuelva si puedo o nod permanecer
Inicdales  €D los Estados Unidos. ,

C Considero que estaria en peligro si regreso a mi pais. Mi caso se trasladara al Tribunal de
Iniciates  Inmigracién para la celebracién de una audiencia.

£1 Admito que estoy ilegalmente en los Estados Unidos, y no considera que estaria en peligro si
regreso a mi pais. Renuncio a mi derecho a una audiencia ante el Tribunal de Inmigracién.

 

 

 

 

 

 

 

 

Deseo regresar a mi pais en cuanto se pueda disponer mi salida. Entiendo que pudiera
permanecer detenido hasta mi salida.
Dart, Wtoug 1/~22-02
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CERTIFICATION OF SERVICE
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Notice read to subject by _-~ , in the . language.
azie / .
- + Name of Service Officer (Print) Name of Interpreter (Print)

 

 

[Mem V. Ens dh [22 |o2 ‘00
Signature of Officer . ate and Time of

Form 1-826 (4/1/97) N

 
 

Case 1:22-cv-00057-LJV Document 1 Filed 01/20/22 Page 45 of.84

FEDERAL BUREAU OF [

ATY NUMBER IS REQUESTED WHETHER

MVESTIGATION, UNITED STATES DEPARTMENT OF JUSTICE
_# WASHINGTON, D.C. 20537

PRIVACY ACT OF 1874 (P.L. 93-879) REQUIRES THAT FEDERAL, STATESOR LOCAL AGENCIES INFORM INDIVIDUALS WHOSE SOCIAL §
SUCH DISCLOSURE IS MANDATORY OR VOLUNTARY, BASIS OF AUTHORITY FOR SUCH SOLICITATION, AND uses WHICH WILL BE MADE OF IT,

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SUBMISSION YES 0 MM 0D YY sowrainon 4 ‘ iN
feat 2 ADDRESS FALO, NY
TREAT AS ADULT YES 0 0
. REPLY YES
DESIRED? O
SEND COPY TO: DATE OF OFFENSE PLACE OF BIRTH (STATE OR COUNTRY) COUNTRY OF CITIZENSHIP
(ENTER ORY} MM DD YY ih AT 7Z 2 (beri 1 ue. )
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RESIDENCE/COMPLETE ADDRESS °° CITY STATE
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YES [)

 

 

 

 

 

 

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CHARGE/CITATION PISPOSITION
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ADDITIONAL ADDITIONAL
ADDITIONAL INFORMATION/BASIS FOR CAUTION STATE BUREAU STAMP

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Case 1:22-cv-00057-LJV Document 1 Filed 01/20/22 Page 46 of 84

 

 

 

 

 

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Pires EEN tondee7? UNITED STATES DEPARTMENT OF JUSTICE
. IMMIGRATION ANO NATURALIZATION SERVICE
- RECORD OF SWORN STATEMENT IN AFFIDAVIT FORM —
AFFIDAVIT-WITNESS
IN re: Darwin Johan Gutiervez- Floves FILE NO. AY3 54A 957.
_ EXECUTED AT _[Wia 4 Tad rc DATE Mfeerfor

 

: 7 7
Before the following officer of the U.S. Immigration and Naturalization Service W///an 4 Pass

in the English _ tanguage- Interpreter pf used. °

 

 

l iW O Yé2- , acknowledge that the above-named officer

has identified himself to me as an officer of the United States Immigration and Naturalization Service
authorized by law to administer oaths and take testimony in connection with the enforcement of the

_Immigration and Nationality laws of the United States. He has informed me that he desiresto take my
1 hs ta Lee amy ne US

sworn statement regarding _*

CONVICT ox)

' He has told me that my statement must be made freely and voluntarily. I'am willing to make such a
statement. I swear that I will tell the truth, the whole truth, and nothing but the truth, so helpme, God.

Being duly sworn, | make the following statement: M true. ond Corvect Name,
Dorwin Tohon GUT LERQEZ- FLORES. LT hove nev used

born on 5/4} fo 1 Son Reto Sula,

. Prue ty Puhr (Sa wd ot Honduras anol a
“Vegod permanent resideck of the United Stodes, Mynoter
Is a. naturalized Unrted Stedes citizen, L entered the
United States on or about a[3/94 as a (FK2) immigrant:
in Nas Vork City - . ‘Since my entry inp the United States,

TL was convicted “ot violadtton of Votecton Oreler on
(0|25[or in Niagara County Court. ill be sentenced

on 2] 13]or. .
ye —Gourn CSubseribed
dome @Y Niagara

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Dae pb ann

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Derivation USC Checklist

Subject Name: Gutierrez- F lores ; Darwin lohan

eT

alk/a:
at: 43 562 957 pos: 514180 DOE: 4/3/42

1) Subject LPR: YES_) NO
2) Subject under 18 'years at entry: ¢ YES ) NO

If both answers are YES, The following information is required:
Mother’s name: AZUCena Flores Maiden: Flores
at 41 247 508 Citizenship #; of673 IG R50
Place of Birth on d uvas INS Status MATz._ US Cc.
Naturalization date & place: 6/ 7 / Gb NYC
Father’s name: _Apari clo Gubierrezace:

 

 

 

 

 

   

At: Citizenship #:
Place of Birth Honduvas INS Status
Naturalization date & place:
Married Divorced: (month/day/year) Place:
Custody of subject: Father
Telephone #:_.
Address, yr
City: Bron x State:_AVY.
Comments/Derivation Decision: ther Nn t 1S

  

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Agent: Bass
Case 1:22-cv-00057-LJV Document 1 Filed 01/20/22 Page 50 of 84

 
Case 1:22-cv-00057-LJV Document 1 Filed 01/20/22 Page 51 of 84

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NYS DOCS Inmate Information - Re® © Page | of 2

Department of Correctional Services

Inmate Information

Inmate Information Data Definitions are provided for most of the elements listed below. When a detailed definition is
available for a specific element, you may click on the element's label to view it.

Identifying and Location Information
As of 10/25/06

03B0337
Inmate Name GUTIERREZ, DARWIN J
Sex .
Date of Birth 05/09/1980

HISPANIC

RELEASED

COLLINS

02/11/2003

02/11/2003

County of Commitment GARA
12/13/04 PAROLE - COND REL TO PAROLE

 

 

Crimes of Conviction

If all 4 crime fields contain
data, there may be additional
crimes not shown here. In this

case, the crimes shown here

are those with the longest
sentences.
As of 10/25/06

 

 

 

Crime os Class

 

 

 

 

 

 

 

Sentence Terms and Release Dates
Under certain circumstances, an inmate may be released prior to serving his or
her minimum term and before the earliest release date shown for the inmate.
As of 10/25/06

|

 

 

http://nysdocslookup.docs.state.ny.us/GCA00P00/WIQ1/WINQ000 10/25/2006
 

Case 1:22-cv-00057-LJV Document 1 Filed 01/20/22 Page 53 of 84

 

NYS DOCS Inmate Information - Re @ Page 2 of 2
Aggregate Minimum Sentence 001 Years, 04 Months, 00 Days
Aggregate Maximum Sentence 004 Years, 00 Months, 00 Days

 

Earliest Rele ate
Earliest ase e

 

 

 

 

 

 

Parole Hearing Date 06/2005

Parole Hearing Type REAPPEARANCE
Parole Eligibility Date 08/13/2003
Conditional Release Date 12/13/2004

 

04/13/2006

 

 

 

 

 

 

 

 

Home - Inmate Lookup - Contact Us - Press Releases - Jobs - Corcraft - DOCS Today - Directives - Disclaimer

 
Case 1:22-cv-00057-LJV Document 1 Filed 01/20/22 Page 54 of 84

 
 
 

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2/15/03 NYS “DEPARTMENT - CORRECTIONAL SERVICES - - ROL2L?
. REPORT? OF ALIEN PERS ON INSTITUTIONAL CZED
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et fle .
anny

TO: DISTRICT DIRECTOR “OR OFFI atch grt HARGE,
. IMMIGRATION AND raed TOR SERVICE,

THE FOLLOWING NANED PERSON BELTEVED TO BE AN ALIEN WAS COMMITTED TO THIS
CORRECTIONAL INSTITUTION AG AN INMATE,

TRE FOLLOWING INFORMATION IS FURNISHED:

NAME: GUTIERREZ, DARWIN J . Oth: 9980337

ALIASES: GUITERREZ/FN DARWIN JOHN , OTHER NUMBER
BIRTHPLACE : SAN PEBRG SULA HONDURAS - | DOB: S5/O9/1980
LAST ADDRESS: 776 E 165TH ST IMMIGRATION STATUS

BRONX NY Bn ALIEN
U.S, CITIZENSHIP CLAIMED

semen

IF U.S, CITIZENSHIP CLAIMEO INDICATE HOW ACQUIRED ANQ SHOW CERTIFICATE NO,

 

WHERE ENTEREO U.S.: NEW YORK _ MANNER GF ENTRY: PLANE

NEAREST RELATIVE: AZUCENA FLORES
770 € 145TH ST BRONX, NY
(718-542-1655

   

  

EARLIEST RELEASE DATE: .08713/2003

Lore 4 hed Cb ATE
SIGNATURE O€/REPORTING OFFICER GR DIRECTOR
ELMIRA C & RC

BOX 500_
ELMIRA, WY 14902

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Case 1:22-cv-00057-LJV Document 1 Filed 01/20/22 Page 56 of 84

 

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V Case 1: 22- -Cv-0005/-LJV Document t Filed 01/20/22 Page 57 of 84

\CIMET):.. Ta PION AND, AAZURALIZATION § ICE , * 03/04/03
« COMMAND: > FILE reaNGeEn DISPLAY : ( vues “5 13:08:49
A#: 043562957 NAME: GUTIERREZ FLORES , DARWIN DOB: 05091980
PREVIOUS FCO: BUF FCO CREATING SUB-FILE:
CURRENT FCO: NRC SUB-FILE CREATION IND:
REQUEST FCO: BUF
FILE LOCATED IND: R (FILE REQUESTED)
DATE FTR: 03042003 (MMDDYYYY) ACCESSION NUMBER: 0000
DATE FTI: 12112002 INS BOX NUMBER:
DATE FIC: 12272002
REQUEST NUMBER:
PERSON/ACTION: ACAP 2ND REQUEST DATE:  -

YOU MAY REQUEST A DISPLAY OF ANOTHER A-FILE

CLEAR EXIT

PF3 REFRESH

PF4 FTS MENU

PF5 HELP

3RD REQUEST DATE:

BY KEYING A DIFFERENT A>NUMBER.

PF6 CIS MAIN MENU

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Case 1:22-cv-00057-LJV Document 1 Filed 01/20/22 Page 58 of 84.

CIMSIN T TION AND NATURALIZATION g@KRVICE 03/04/03
. COMMAND: CENTRA DEX SYSTEM - DETAILED SEMMRH DISPLAY :_ 12:45:40
A#: 043562957 NAME: GUTIERREZ FLORES - , DARWIN DOB: 05091980
LAST: GUTIERREZ FLORES
FIRST: DARWIN NATZ DATE:
MIDDLE: J COURT:
ALIASES: GUTIERREZ , DARWIN LOCATION:
SEX: M | POE: NYC COB: HONDU DOE: 09031992
FCO: NRC COA: FX2 COC: FTC: 12272002 FATHER: APARICIO
PFCO: BUF SFCO: DFO: 09031992 BIN: MOTHER: AZUCENA
SSN: CONSOLIDATED A-NOS --OTHER INFORMATION--
I-94 ADM #:. CARD-X
PASSPORT #:
FBI #:
DRIVER LIC:
FINGER CD#:
CLEAR EXIT PF4 RETURN PF5 HELP PF6 CIS MAIN MENU
PF7 NEXT SEARCH PF8 VIEW HISTORY PF9 ‘VIEW EAD PF10 NAILS PF11 EOIR

PF10 REQUIRES A SPECIAL SECURITY CLASS.

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U.S. Department of Justice
Executive Office for Immigration Review
United States Immigration Court

In the Matter of File: A043-562-957

DARWIN JOHN GUTIERREZ- FLORES IN REMOVAL PROCEEDINGS

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RESPONDENT Transcript of Hearing

Before NANCY R. MCCORMACK, Immigration Judge

Date: August 25, 2011 Place: MIAMI, FLORIDA

Transcribed by DEPOSITION SERVICES, Inc.

Official Interpreter: ABIGAIL RIVERA

Language: SPANISH

Appearances:
For the Department of Homeland Security: MICHAEL LEVY

For the RESPONDENT: ANDREW SELEPIAN

 
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JUDGE FOR THE RECORD

Immigration Judge Nancy R. McCormack in Miami,
Florida. Today’s date is August 25, 2011. We are in master
calendar removal proceedings relating to Mr. Darwin John
Gutierrez-Flores, A 043 562 957. The respondent is currently in
the Batavia New York Detention Center. He is appearing there
this morning along with counsel and that is Mr. --

JUDGE TO MR. SELEPIAN

Q. Counsel, could you say your name, please?

A. Andrew Selepian (phonetic sp.), Your Honor.

Q. Okay. And could you move that microphone closer
to you and to your client? Thank you. And, sir, that is an
esquire? Is that right?

A. Correct, Your Honor.

Q. . Okay.

JUDGE FOR THE RECORD

The Department of Homeland Security represented by Mr.
Michael Levy, esquire and our interpreter present in Batavia is
Ms. Abigail Rivera with the Lionbridge Services in the Spanish
language.

JUDGE TO MR. GUTIERREZ

Q. So to the respondent, sir, are you Darwin John
Gutierrez-Flores?

A. Yes.

Q. All right. Sir, do you speak English?
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Case 1:22-cv-00057-LJV Document 1 Filed 01/20/22 Page 63 of 84

A. Yes, ma’am.

Q. Yes, you do. Okay. And, sir, is Mr. --
JUDGE TO MR. SELEPIAN

Q. I'm sorry.

A.  Selepian, Your Honor.

JUDGE TO MR. GUTIERREZ

Q. Is he your attorney in these proceedings?

A. Yes, Your Honor.

Q. Okay. All right.

JUDGE TO MR. SELEPIAN

Q. Well, counsel, on behalf of your client did you
wish to concede service of the Notice to Appear dated June 13,
2011?

A. Yes, Your Honor. I do have a copy of the
document .

Q. All right. And are we ready today to go forward
with the pleadings?

A. No, I’m not, Your Honor. Actually, today I was
optimistic this morning we could pursue a bond hearing today. I
spoke with the Government Attorney in advance of today’s date.
He is inclined to deny bond or oppose it. At this point, I
would like a short continuance to keep discussing the matter
with the Government Attorney and perhaps [indiscernible].

Q. Okay. Well, the bond matter is separate. We're

now working on the case in chief. But I’m going to interpret
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your response to mean you would like some time for preparation.
Now the Department of Homeland Security, Mr. Levy’s co-counsel
has filed with the Court, a composite exhibit involving a
criminal conviction record which is referenced or a record which
is referenced on allegation 5 contained on the Notice to Appear.
Counsel, do you have that exhibit?

A. I’ve seen a copy of it in respondent's
possession, Your Honor. However, I would note for the record
that it seems to be missing a page. I believe page 5 is not in
the respondent’s packet.

Q. Okay. I do have page 5 so Mr. Levy can correct
that for you. All right. So now it appears that there might be
some significant truth to the allegations contained on the
Notice to Appear. However, on the other hand, the respondent
appears also to be eligible to apply for cancellation of removal
for lawful permanent residents.

JUDGE TO MR. LEVY

Q. Would you agree.with that, Mr. Levy?

A. Your Honor, as the respondent is presently
charged, I would agree with that. There are some other criminal
charges that we’re waiting on records of conviction which may
change the Government's position on that. But I would agree
with Your Honor as the respondent is presently charged.

Q. Right. Okay. All right.

JUDGE TO MR. SELEPIAN

 
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Q. Counsel, how much time do you need to file the
EOIR-42A?

A. Your Honor, we’re not even ready to plead today.
Actually, we --

Q. Well, counsel, we have to in these hearings, the
respondent as you’ve indicated to me is anxious to present his
Case to get bonded out, to pursue his applications for relief
before the Court. And see, DHS is going to probably dig in
their heels on relief and bonding out until it has been
demonstrated that the respondent is eligible for relief. So now
I’m going to ask Mr. Levy.

JUDGE TO MR. LEVY

Q. Mr. Levy, do you have evidence of any criminal
convictions that would bar the respondent from LPR cancellation?

A. No, Your Honor. I do not.

Q. No. Okay.

JUDGE TO MR. SELEPIAN

Q. So this is what I’m going to do. Counsel, I am
going to honor your wish and but I’m going to ask you to appear
at the next hearing to be ready to do the pleadings. I’m not
telling you you have to admit anything. But you do need to be
prepared to do the pleadings and to file this application for
relief. And I think it would behoove Mr. Gutierrez-Flores to
have this application for lawful permanent resident cancellation

of removal in the record. He’s clearly been a resident since

 
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1992. He has the five years, the seven years. This is not an
aggravated felony and it does appear that he has a problem. And
I’m sure he would like to resolve that problem because if the
judge, whoever that may be, it probably won't be me, were to
grant his application then not only would his problem be solved
but in addition, he would be eligible to apply immediately for
naturalization which I would presume would be a goal that he
might want to pursue as well. Okay.

A. Okay.
JUDGE TO CLERK

Q. So, Karen, that’s our clerk of the Court, when is
the next master calendar date?

A. We could do September 13th at 9:00 or 10:30 if

that’s good for Mr. Selepian.

‘MR. SELEPIAN TO CLERK

Q. 10:30 is fine.

A. 10:30.
JUDGE TO MR. SELEPIAN

Q. Okay. So this case then will be rescheduled on
September 13th at 10:30 in the morning. And the clerk there,
counsel, is going to provide to you, a copy of the written
notice of the new hearing date.
JUDGE FOR THE RECORD

and I will make a note that counsel has the exhibit

except for page 5 of the exhibit which will be corrected.

 
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JUDGE TO MR. SELEPIAN

Q. And then when you come back to court, you can
make reference to the pleadings and to submit the application
for relief. Do you think the respondent would like to apply for
asylum as well?

A. Well, that’s what I’m trying to say, Your Honor.
During my preliminary investigation in this Matter, I believe
the respondent is eligible for citizenship automatically as a
derivative of his, I believe his father or his mother. I’m
sorry, Your Honor. We‘re seeking to show that he was not
legitimated on the birth certificate and therefore under former
INA 221, he is an automatic citizen. That’s why I would like a
continuance.

Q. Are his parents married?

A. No, Your Honor.

Q. All right. How did he immigrate? What was the
category? He has an immigrant visa. It’s 43 million. How did
he immigrate?

A. That’s all part of my reason I need a
continuance, Your Honor. I was just hired. I’m asking both of
you, not just you, counsel. I’m asking Mr. Levy as well because
he has the A file.

MR. LEVY TO JUDGE
Q. The respondent was admitted as an LPR, category

appears to be FX2. I’m actually not familiar with that
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category, Your Honor. I would need to look into specifically
what that entails.

A. Unmarried son or daughter of lawful permanent
resident who got their permanent residence through a
legalization. And his mother, when did she become a citizen?
Do you have any record of that, Mr. Levy? First of all, how old
was the respondent on September 3, 1992?
MR. GUTIERREZ TO JUDGE

Q. I was 12 years old, Your Honor. 12.

A. Okay. All right. All right.
MR. LEVY TO JUDGE

Q. It appears the mother naturalized June 7, 1996,
Your Honor. There was a previous N-600 which was filed in 2008
which was denied in 2009.

A. Why?
MR. SELEPIAN TO MR. LEVY

Q. It is the father didn’t legitimize. Under
Honduran law being on a birth certificate.

A. You may know --
MR. SELEPIAN TO JUDGE

Q. Your Honor, I have seen the denial but the
problem was is the Service believed that the father legitimized
the son because he was on the birth certificate however, I have
now done some research and found that under Honduran law, only

marriage of the parents legitimizes. That’s the argument.

 
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A. Right. You don’t have to be married. Just
because you're on the birth certificate doesn’t mean that you
know.

Q. Right.

A. So I’m asking Mr. Levy though.

JUDGE TO MR. LEVY

Q. Why was that N-600 denied? Was it just because
of that or was it some other reason?

A. Mr. Selepian is correct. The finding from USCIS
was that because the father was on the birth certificate, he was
legitimized by his father and therefore, not eligible to derive
U.S. citizenship through the respondent’s mother alone.

Q. Well, that’s not right, Mr. Levy. That’s
incorrect. Houston, you have a problem. In Honduras, there is
no recognition in Honduras of legitimization by an, and I’m not,
you know, denigrating the respondent. We’re using legal terms
here of legitimacy versus illegitimacy. It’s nothing to do with
the respondent. Just a legal term. The parents had to be
married and if not, then the respondent would have had to been
legitimated by his father here in the United States after he
moved here in 1992 either through a formal declaration of
legitimacy and/or if he became, if they married which would have
then automatically. So I don't believe either one of those

events occurred. So we’re not talking about anything like that.

JUDGE TO MR. SELEPIAN

 
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Q. Counsel, did the respondent’s parents ever marry?
A. No, Your Honor.
' Q. No.

JUDGE TO MR. LEVY

Q. So then under the Immigration and Nationality Act
under definition of child 101(c), the respondent 101 (a) (C),
wherever it is, the respondent then was considered to be the
child of his mother only unless there was some act of
legitimation which occurred. Some countries are not like that.
Some countries in Jamaica, for example, if you’re born on or
after 1975 or you were under 18 in 1975 by operation of law,
illegitimate children were equal, they had the same rights and
privileges as legitimate children. It depends on the country
but in Honduras it’s marriage only. There is no legitimation.
JUDGE TO COUNSEL

Q. So, counsels, it looks like somebody’s going to
have to get busy because you might be holding a derivative
citizen there in custody. Whoops.

A. (Mr. Levy) Yes, Your Honor.

A. (Mr. Selepian) That's, Your Honor, why I’m hoping
we could look into this matter first and that would preclude the
submission of an application for cancellation. Hopefully, we
don't even need to get to that.

JUDGE TO MR. SELEPIAN

Q. Okay. Well, counsel, you're going to need to get

 
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your documentation together, file an exhibit with the Court,
prepare a motion to terminate the removal proceedings, and
support your position with the case law so that the next
Immigration Judge.

JUDGE TO COUNSEL

Q. Guys, I was a naturalization examiner and I have
been doing this for 35 years. Okay. Which makes me very boring
and I’m in a rut. Okay. But the bottom line is that perhaps
the next judge who might be assigned may not understand that.
JUDGE TO MR. SELEPIAN

Q. So you need to, if that’s your position, you have
to prepare it and file the brief and get the documents so that
the judge can take a look at terminating the proceedings rather
than concentrating on bonding him out which I know, obviously if
the judge terminates the proceedings and DHS agrees that the
evidence does tend to indicate that the respondent is a
derivative U.S. citizen then, you know, they probably will waive
appeal and the matter will go away.

JUDGE TO MR. LEVY

Q. Yes, Mr. Levy.

A. I’m just going to note, Your Honor, once an issue
of citizenship comes up, obviously we take these very seriously.
This will be looked into immediately and --

Q. Okay. Very good. In fact, the DHS, the

enforcement people there, this is vitally important. The first

 
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thing they should do when they see someone has immigrated or
adjusted in the U.S. at a young age, number one, bang ditty
boom, ditty boom, mom and dad right away, mom and dad right
away. And if the case is not convincing that the person is or
is not a citizen because remember, DHS has the burden of proof
and there’s nothing more embarrassing for anyone’s career and
believe me, it does happen. It happens very frequently. Many
people who are lawful permanent residents, maybe they don’t know
that they’re derivative citizens. It happens a lot. And, you
know, that’s like the first thing that needs to be inquired into
and I appreciate your, you know, assiduously pursuing this
particular issue for both counsels. I do appreciate it. Okay.
I’ve made some notes on the worksheet so let’s get that together
and see if it can be terminated and/or a motion filed and let
the judge rule on it. Or if it’s a joint motion to terminate
then certainly that would end the matter and the respondent
would be removed from custody. Okay. But from what you told
me, Mr. Levy, it sounds like that N-600 was not properly
adjudicated. Okay.

A. That may be, Your Honor, and obviously you know,
you mentioned the issue of citizenship. That’s something that’s
looked into but my guess is that with the N-600 denial, it was
thought that was taken care of. I see the point that you’re
making and I will look into it myself, Your Honor. We’1ll get to

the bottom of this right away.

 
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Q. Okay. Great.
JUDGE TO COUNSEL

Q. Great, gentlemen. But at any rate, hopefully
this may be resolved before September 13th, by the next master
calendar. Okay. All right, counsels. Anything else from
either party?

A. (Mr. Selepian) Yes, Your Honor. If the matter is
still on for September 13th, are you still expecting an LPR
cancellation application to be submitted that day?

JUDGE TO MR. SELEPIAN

Q. Well, it depends on what happens in the meantime.
Okay.

A. Your Honor, I’m going to have to start preparing
that immediately to have that ready for the 13th.

Q. Well, it’s only two pages. I mean how tough is
that? You know --

A. Putting together the documentation, et cetera.

Q. Well, you don’t have to file the documentation.
You just have to file the application.

A. Okay. Just the bare bones application, we can
have that for the 13th.

Q. Okay. But now don’t be coming in there with the
next judge and telling them that I told you that, you know,
this, that and the other. We all know now what the issues are

on the table and if that doesn’t work out then the cancellation

 
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is there so he’s eligible. Okay. All right.
JUDGE TO COUNSEL

Q. Good luck folks. Work to do.
JUDGE FOR THE RECORD

Hearing concluded

HEARING CONTINUED

 
Case 1:22-cv-00057-LJV Document 1 Filed 01/20/22 Page 75 of 84

 
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September 16, 2011

Azucena Flores

 

 

 

 

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-To Whom It May Concer:

I am writing this letter on behalf of my son Darwin Gutierrez. I am a single mother of
three, and raised Darwin by myself, without child support from his father or government
assistance. Darwin’s father abandoned us when I was pregnant with Darwin. I left my
native country searching for the American dream and an opportunity for job and
education for Darwin and his sister. Consequently, Darwin and were separated for more
than nine years. I petitioned Darwin as soon as I could and I am grateful the United States
granted him a permanent resident and we were reunited in 1992.

I became naturalized i in 1996. Darwin had a green card, was, under 18, and living with

me. When Darwin’ s father abandoned us while I was pregnant, he gave up all his rights. |

_ so.he was never-needed to register him in school, make medical decisions, or when he
_ Move, to the USA. Darwin got his visa and citizenship through me.

Darwin has a nine yéar ‘old daughter who lost her mother in a tragic way seven years ago.

Her mother was murdered and if this wasn’t enough, she was separated from her siblings . -
a few months later. My grandchild needs her father and losing another parent would be -

devastating. Darwin has a two months old baby boy who needs him as well.
Iam disabled and suffering from fumbar illness and can’t move around. a lot without pain. —

and suffer from severe depression as well. I understand Darwin has been in-trouble with

the law before and as a mother that was once separated from her only son, I am begging
you to let him stay! in this country and give him a chance to raise his two children.

Sincerely,
Case 1:22-cv-00057-LJV Document 1 Filed 01/20/22 Page 77 of 84

 
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GUILLERMINA

APARICIO

 

FINAL ADDRESS | STREET ADDRESS, INCLUDE—IN CARE-OF,& APT# IF APPLICABLE
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CITY, STATE, AND ZIP CODE, IF AVAILABLE

BRONX, NY. 104561.

 

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stated in the application. Possession of a visa does not entitle the
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United States Immigration Officer:

This visa is issued under. Section 221 of the Immigration and Nationality Act, and upon the basis of the facts

bearer to enter the United States if at the time
the United States, it must be surrendered to a

 

IMMIGRANT CLASSIFICATION

 

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OR OTHER TRAVEL DOCUMENTS (Describe)
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- Info given to IRS on date of 1-551, i
Case 1:22-cv-00057-LJV Document 1 Filed 01/20/22 Page 79 of 84

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Siana J. McLean, Esq.
2777 Sheridan Drive, Suite 202
Buffalo, NY 14150 .
UNITED STATES DEPARTMENT OF JUSTICE
EXECUTIVE OFFICE FOR IMMIGRATION REVIEW
IMMIGRATION COURT

BATAVIA, NY 14020
In the Matter of: .
GUTIERREZ-FLORES, Darwin John
Respondent
In Removal Proceedings

A043 562.957

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RESPONDENT’S SUPPLEMENTAL EVIDENCE

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UNITED STATES DEPARTMENT OF JUSTICE
EXECUTIVE OFFICE FOR IMMIGRATION REVIEW

IMMIGRATION COURT
BATAVIA, NY 14020
)
In the Matter of: )
° )
GUTIERREZ-FLORES, Darwin’. ) A043 562 957
Respondent ).
2 ) 2
In Removal Proceedings ) Immigration Judge: Steven J.\Connely —
. -) Individual Hearing: March 27, 2012:-
) .

 

SUPPLEMENTAL EVIDENCE

Respondent, Gutierrez, hereby files the following supplemental evidence in ‘support of his application for can-
cellation of removal for certain permanent residents:

K. Copy of son’s birth certificate indicating birth in the United States

L, Four Support letters from friends. and colleagues of Respondent at
: M. ‘Support letter from: Respondent’ s fiancée, Michele Sardo, a US Citizen

N. Mortgage Statement with statement from Michele Sardo indicating contrition from Respondent
" O. Evidence of payment of child support for Respondent’ 8 danghter” a
. P Evidence of: filed tax. returns’ -
‘Respondent request ‘that these documents be included in n his roi submitted application

DATED: March 13, 2012

 

" Attorney for Respondent

CERTIFICATE OF SERVICE

:| HEREBY CERTIFY that a true and correct copy of the foregoing Supplemental Evidence list
has been delivered to the Office of the Chief Counsel at 4250 Federal Drive, Batavia, NY 14020 this

14 day of March, 2012.

 

 

‘Siaha J. McLean, Esq.

 

 
 

Case 1:22-cv-00057-LJV Document 1 Filed 01/20/22 Page 81 of 84

‘Tam wilting this letter in regards to the petition that was filed formy fiancé Darwin Johan -
Gutietrez, ‘The purpose of this letter is to provide documentation ofthardship:te my family and

° myself. The absence-of my fiancé'and domestic partner, ‘has proved to‘be an extreme hardship for

-us.as.Wenot only miss and love -thim, we depend on himvin every: ASpEC at of our lives. As his. ©

‘iat ope to prove, not only through this letter ‘but als tough dinimenation thatis.

Judge Connolly,

 
 

   
 

 

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Case 1:22-cv-00057-LJV Document 1 Filed 01/20/22 Page 82 of 84

To Whom it May Concern;

| don’t feel Darwin Gutierrez- Flores is a threat or a danger to society

or to himself. | know Darwin through Michele Sardo, my cousin. | am a U.S.

Citizen. | have never heard him.raise his voice to anyone, even when my kids or

my cousin’s daughter would act up. Darwin was always laid back went with the

. flow kind of guy. Darwin never seemed angry or mad. He was excited about

getting his life back on track by looking for employment; changing and being more

selective when choosing people to be around. Darwin had placed several

applications for employment before becoming incarcerated. ‘If you have any’ .

“questions feel free to contact me a

 

 

 

 

 

 

 

 

 

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_ Thank-you for your time,

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Joanne Kowarko

 
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2-cv-00057-LJV Document1 Filed 01/20/22 Page 83 of 84

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‘To whom it May Concern,

| met Darwin Gutiertéz- Flores through Michele Sardo, she is my
wife’s cousin and a coworker. Darwin has always been nice, a ittle.quiet until he
gets to know you he has always been calm and helpful..l am a U.S. Citizen. We
have enjoyed time in the great outdoors, had good conversations and some
laughs. He helped me move a hot water tank without really even knowing me. |
” have never known Darwin to be violent, raise his voice, or be mean. | strongly feel
that Darwin is nota danger or threat to society; | have only known him to. be well ©

mannered and calm. If you tiave any questions, please feel free to contact me at

 

 

 

 

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"OLD for your time, ~~

: Daniel Kowarko

 

 

 

 
Case 1:22-cv-00057-LJV Document 1 Filed 01/20/22 Page 84 of 84
CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the

JS 44 (Rev. 04/21)

purpose of initiating the civil docket sheet.

(SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM)

 

I. (a) PLAINTIFFS

Darwin J. Gutierrez-Flores

(b) County of Residence of First Listed Plaintiff United States

(EXCEPT IN U.S. PLAINTIFF CASES)

(c) Attomeys (Firm Name, Address, and Telephone Number)

79 Marine Drive a

pt #11G

Buffalo N.Y. 14202

DEFENDANTS

Michael Phillins

Attorneys (If Known)

 

County of Residence of First Listed Defendant

U.S. Department of Justice/ICE, DHS E.R.O Buffalo/

_United States

(IN U.S. PLAINTIFF CASES ONLY)

NOTE: INLAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVE!

 

Hl. BASIS OF JURISDICTION (Place an “X” in One Box Only)

 

IH. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff

(For Diversity Cases Only) and One Box for Defendant)
(J! U.S. Government [[]3 Federal Question PIF DEF PYF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State [X] 1  [X] 1 Incorporated or Principal Place Ol¢+ (©
of Business In This State

[x]2 U.S. Government (14 Diversity Citizen of Another State [12 [J 2. Incomporated and Principal Place [[] 5 []5

Defendant (Indicate Citizenship of Parties in Item II) of Business In Another State
Citizen or Subject ofa (13 [7] 3 Foreign Nation Ole Ce

Foreign Country

 

IV. NATURE OF SUIT (Place an “X” in One Box Only)

 

 

 

Bb

TOR

 

110 Insurance
120 Marine
130 Miller Act
140 Negotiable Instrument
150 Recovery of Overpayment
& Enforcement of Judgment]
151 Medicare Act
152 Recovery of Defaulted
Student Loans
(Excludes Veterans)
CJ 153 Recovery of Overpayment
of Veteran’s Benefits
[] 160 Stockholders” Suits
190 Other Contract
195 Contract Product Liability
196 Franchise

Ty
CJ

210 Land Condemnation
220 Foreclosure

230 Rent Lease & Ejectment
240 Torts to Land

245 Tort Product Liability

| _|290 Ail Other Real Property

   
 

 

 

   
     
 
        

   

    

PERSONAL INJURY PERSONAL INJURY
310 Airplane [] 365 Personal Injury -
315 Airplane Product Product Liability
Liability LL) 367 Health Care/
320 Assault, Libel & Pharmaceutical
Slander Personal Injury
330 Federal Employers” Product Liability
Liability (C1 368 Asbestos Personal
340 Marine Injury Product
345 Marine Product Liability
Liability PERSONAL PROPERTY
350 Motor Vehicle 370 Other Fraud
355 Motor Vehicle 371 Truth in Lending
Product Liability {] 380 Other Personal
360 Other Personal Property Damage
Injury [_] 385 Property Damage
362 Personal Injury - Product Liability
Medical Malpractice
440 Other Civil Rights Habeas Corre
441 Voting 463 Alien Detainee
442 Employment 510 Motions to Vacate
443 Housing/ Sentence
Accommodations —_ [[] 530 General
445 Amer. w/Disabilities -[_] 535 Death Penalty
Employment Other:
446 Amer. w/Disabilities -[__| 540 Mandamus & Other
Other 550 Civil Rights
448 Education 555 Prison Condition
560 Civil Detainee -
Conditions of
Confinement

 

  

Click here for: Nai

   

    

 

 

 

    
 
 
 
   
  
 

    

| 625 Drug Related Seizure 422 Appeal 28 USC 158
of Property 21 USC 881 423 Withdrawal
[1690 Other 28 USC 157
820 Copvahs
830 Patent
835 Patent - Abbreviated
New Drug Application
i EABOR: 880 Defend Trade Secrets
710 Fair Labor Standards Act of 2016
Act
| _]720 Labor/Management as i
Relations 861 HIA A (1395)
740 Railway Labor Act 862 Black Lung (923)
751 Family and Medical 863 DIWC/DIWW (405(g))
Leave Act 864 SSID Title XVI
S::1_|790 Other Labor Litigation 865 RSI (405(g))
791 Employee Retirement
Income Security Act = BED ETA
870 Taxes (1 US.
or Defendant)
|] 871 IRS—Third Party
Pit GRATION: 26 USC 7609
462 Naturalization Application
he Other Immigration
Actions

 

 

e of Suit Code Descriptions.

 
 
   

375 False Claims Act
376 Qui Tam (31 USC
3729(a))

400 State Reapportionment

410 Antitrust

430 Banks and Banking

450 Commerce

460 Deportation

470 Racketeer Influenced and
Corrupt Organizations

|] 480 Consumer Credit

(15 USC 1681 or 1692)

|_| 485 Telephone Consumer
Protection Act

490 Cable/Sat TV

850 Securities/Commodities/
Exchange

890 Other Statutory Actions

| 891 Agricultural Acts

893 Environmental Matters

4

 
  

4] | 895 Freedom of Information

Act
896 Arbitration
Xj 899 Administrative Procedure
Act/Review or Appeal of
Agency Decision
[| 950 Constitutionality of
State Statutes

 

 

V. ORIGIN (Place an “X” in One Box Only)

x] 1 Original oO Removed from oO 3  Remanded from Cl 4 Reinstated or o 5 Transferred from oO 6 Multidistrict 8 Multidistrict
Proceeding State Court Appellate Court Reopened Another District Litigation - Litigation -
(specify) Transfer Direct File

 

VI. CAUSE OF ACTION

Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
28 U.S.C. & 2401 (b)

 

 

 

 

 

 

 

 

 

Brief description of cause:
VIL REQUESTED IN _ [x] CHECK IF THISIS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, F.R.Cv.P. $5,000,000.00 JURY DEMAND: [Xlyes [No

VIII. RELATED CASE(S) See

IF ANY (Gee instructions)’ GE DOCKET NUMBER
DATE “See. OF A’ eo OF RECORD

|-2.0 -2022
FOR OFFICE USE ONLY

RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE
